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EXHIBIT L




Biles V Schneider discovery testimony




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 The following document is from interviews performed by Sarah Thomas, paralegal for Bonner Stinson
and reflects the quality of healthcare and administrative action in the Big Horn County, Wyoming. The
interviews are directly from Ms. Thomas’s investigation during the Biles V Schneider dispute in
2011/2012.




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                      Telephone interview with Brett Argeris, PA
                                  January 10, 2012


Context: Brett interviewed with Dr. Biles and accepted a job with him, but never actually
worked for him, due to a family issue.


Dr. Emery told me that Brett had interviewed with Dr. B. and had witnessed Dr. B
consuming several mixed drinks during a dinner. Dr. Emery recalls that Brett told him
that Dr. B received a call during dinner, then excused himself to go see patients.

I asked Brett about this. He remembers having dinner with Dr. B and that Dr. B
consumed some drinks. He doesn’t remember specifics but recalls an assumption that
Dr. B was being called by the hospital.

Brett recommended that I talk to John Vipperman and Jeff Lapp. He noted that it was
common knowledge that Dr. B was difficult to work for and went through a lot of PAs.




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                     Phone discussion with Jesserae (Graham) Baker
                                    January 26, 2012

Context: Jesserae is the x-ray tech that has been referred to as Jessie Graham. She
worked for Dr. Biles from May 2003 – August 2005. She now lives in Denver.


I tracked Jessie down at work at Rocky Mountain Pediatric Orthopedics. She does not
want to talk about this or be involved. She was concerned about how I got her last name
and place of work.

Dr. B made her life “hell” for 3 years and holds a lot of power over his employees.
Jessie thinks that Dr. B is cruel and vindictive and they are all (anyone who has worked
for him) completely afraid of him. (She was crying at this point.) She mentioned that
she knows what he’s trying to do to that woman (meaning Lisa F) and how much he’s
suing her for and she doesn’t want to be in the same boat. She thinks that the flier is
probably true (speaking generally) but doesn’t want to be the one caught pointing the
finger.

The story behind Jessie’s departure is the reason for her comments and lack of
willingness to talk. Jessie found out she was going to need gall bladder surgery, which
would require her to take an extended time off. She knew that Dr. B would be unhappy
about this, so she was planning to quit. Jessie’s (now) husband, Jonah, was Dr. B’s
trainer at the time and there were people around them who knew her plans. Dr. B caught
wind of her plans and fired her before she could quit. I asked about the grounds for firing
her and, initially, she was a little fuzzy on that. Then, she said that she heard through
Crystal that it had to do with her x-ray license. She didn’t get the license renewed on
time but had all of the paperwork in process. They used the fact that she was “illegal”
and couldn’t take x-rays as an excuse to fire her. Initially, Jessie qualified for and drew
unemployment. Dr. B fought it hard and she ultimately had to pay it all back. Her entire
first year out of Cody was very difficult because she was fighting unemployment and
participating in phone appeals, etc.

Based on this history, she feels like Dr. B will go “above and beyond” to be vindictive
and make her pay if she says anything.

She said that part of the “hell” for 3 years was while she worked there. He was very hard
to work for, but it was close to home and the money was good so she did it. She also
mentioned that she knew what had happened with Barb Kessler (the gun incident).

I told Jessie that I knew that she didn’t want to be involved but, since her name had come
up on several occasions (but with no specific info associated), I was trying to find out
why. I told her the kinds of questions I wanted to ask her related to the info on the flyer –
her awareness of drinking in a variety of settings, etc. She acknowledged that, by not
telling me what she knows, I know that she’s hiding something, but she’s not ready to say
anything. She is newly pregnant and doesn’t want this stress.




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                          Phone Interview with Brent Berg
                                  March 28, 2012

Context: Brent was hired as Dr. Biles’ ranch manager to oversee the cattle operation


Brent worked for Dr. Biles from August 2007 – January 2008. Dr. Biles hired him as
the ranch manager but his position turned out to be different than he expected. Dr.
Biles indicated that he needed a manager because his employees were robbing him
blind. Instead, what Brent found was that Dr. Biles was working his guys “to death”
with no time off. Dr. B hired Brent to run the cattle operation and feed lot, but
never seemed very interested in the cattle part of the operation. Brent was
promised housing for his family, but when they arrived, they found a trailer that was
unlivable – no water, no power, no heat, no skirting, etc. As it turned out, Dr. B had
promised the trailer to another employee who had already moved in, and Brent was
responsible for kicking him out.

Dr. Biles wanted his employees to work from sunup to sundown, seven days a week.
If they were caught not working, it was a “bad deal”. On Sundays, Dr. B would
usually come out to the ranch. The employees would either wait around all day,
then Dr. B wouldn’t show up; or Dr. B would come out and have a project for them to
do. As an example, this past spring, Brent ran into Marcos and some other ranch
hands at a branding. While at the branding, Dr. B called one of them, asking where
they were and why they weren’t back at his ranch yet.

Shortly after Brent was hired (within the first 2 weeks), Rachel called Brent’s wife
and wanted her to stay at their house on the South Fork Rd and take care of the
dogs. Since his wife had just moved there, and needed to take care of their kids, she
declined, but Rachel wasn’t pleased.

There were times that Dr. B would call Brent at 9:00 in the evening after working all
day, and proceed to talk his ear off until 11 or 12 at night. Brent wondered if he had
been drinking.

Dr. B often showed up at the ranch with a cup of whisky. He sometimes offered a
bottle to the employees. He frequently showed up in his pickup wearing scrubs,
carrying a big cup. He generally drank the entire time he was there and would leave
to drive back to Cody. He drank even if he was there for only 20 minutes. It was
also common knowledge in Burlington that he’d leave the ranch and drive through
the bar on his way home.

Brent felt that Dr. B had fallen out of grace with the community, due to his treatment
of employees as well as his dealings with contractors.




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Dr. B was known to call the police out to the property when he’d fire a ranch hand.
On one occasion, he accused an employee of dealing drugs from the basement and
had the police come out to search.

On another occasion, Dr. B told the employees that they could not spend any money
on the ranch without his permission. Someone bought a $30 tool set (with Dr. B’s
money) and then Dr. B couldn’t find it. Dr. B was going to hold everyone’s pay check
until the tool set showed up. Brent said he had to “throw a fit” and sent everyone
home and told them not to work until they got paid.

Frank Twitchell was a former ranch hand that was let go. Brent thinks Frank and
Dr. B threatened to sue each other over an issue. (Marcos thinks that Frank was
fired, tried to get unemployment, and fought about it with Dr. B.)

Brent told me about several of the contractors he knows that Dr. Biles had dealings
with. He felt that dr. B was very unethical in his business relationships. He rarely
fully paid for work done. His habit was to hire the contractor, allow the contractor
to start the job, pay for part of the work, then when the contractor continued or
finished the work, Dr. B would find an excuse not to pay for the work. Some of the
contractors would fight him over it, while others would just throw up their hands
and give up.

Jason Lapp (Lapp Fencing) was “run off” by Dr. B. after being accused of not
providing materials that Dr. B paid for. Dr. B asked Brent to walk the fence line and
count posts, etc. Brent thought that everything was accounted for, but Dr. B
required Brent to ask Lapp to leave.

Lee Plumbing did some work for Dr. Biles related to a pump in a pond on the ranch.
(Jerry did the work for Lee Plumbing.) According to Brent, Dr. B did not pay as he
was supposed to and eventually ran them off.

Dr. Biles hired Jeremy Robertas from Montana to move to Burlington to farm for
him. Jeremy gave up his lease and moved his entire family and his farming
equipment to Burlington, but was fired after two weeks. Dr. Biles decided that he
did not need a farmer. Brent’s theory is that Dr. Biles, who was naturally suspicious
of everyone, sought the opinon of someone else, perhaps Wes Wilson. Brent thinks
that Wes, or someone else, suggested to Dr. B that he really didn’t need a farmer so
Dr. B changed his mind and let Jeremy go.

Brent thought that Dr. B owed the gas and oil coop approximately $ 10,000 in fuel at
the time that he left. Dr. B wouldn’t pay the coop, and went to another source for
fuel.

Other contractors/service providers that Brent thought might be of interest:
   • Chad Petrowsky (contractor for the feed lot; Brent thinks Dr. B may still owe
       him $17,000)




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•   Wes Wilson (very involved with Dr. B)
•   Burlington Car Care (Kip – local oil and fuel company)
•   Basin Co-op (where Dr. B purchased fertilizer)
•   Park County Implements, Powell (Ed Sessions was the John Deer rep;
    payment issues)
•   NRCS (Monte – feed lot project; probably wont’ talk; Brent thinks Dr. B
    bought him a motorcycle and testified on his behalf in a child custody
    dispute)




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                            Interview with Cheryl Dominick
                                    January 31, 2012

 Context: Cheryl overheard and participated in a conversation where the Clarks were
defaming Dr. Schneider


Cheryl has been a patient of Dr. Schneider for 15 years and thinks he’s a wonderful
physician. He has done neck and back surgeries for her.

Cheryl described the incident with the Clarks for me. Cheryl was working at Tully’s in
Albertson’s when the Clarks came into the store. They were carrying on a conversation
with a small group of people that Cheryl could clearly overhear. They were “trash-
talking” Dr. Schneider. They said that he had lost his license in California and Montana
and that others were suing him as well. According to the Clarks, Dr. Schneider had
operated on the wrong side of Mr. Clark. Cheryl was bothered by what they were saying
and then entered into the conversation in his defense.

This troubled Cheryl quite a bit because she had already scheduled neck surgery with Dr.
Schneider. She wrote a letter of concern to Dr. Schneider to let him know what people
were saying about him. His attorney contacted her and verified that it was not true about
him losing his license. Cheryl also learned that Mr. Clark had gone to Casper and had 4
surgeries and he was still not “OK”.

After the flier came out, Cheryl wrote Dr. B a letter saying she was concerned about him
and recommended that he get help. She then went to Dr. Schneider and Harley to find
out what was going on. She shared this with Dr. S and Harley. Harley said that he could
tell a lot of stories about Dr. B. Dr. S told her that, over time, he was becoming more
worried about Dr. B’s drinking. Dr. S said that when he was chief of surgery, Dr. B came
in to the hospital on one occasion when he’d been drinking. (Sarah to follow up on who
else was there that can corroborate this.) Dr. S confronted Dr. B about it and sent him
home. He also went to hospital administration to ask them to deal with the situation.
They said that they would, but did not. Dr. S was very frustrated with the fact that the
hospital had dropped the ball on this.

I asked Cheryl who else has told her not to go to Dr. Schneider. She indicated that a
number of people have said they can’t believe she’d let him work on her neck. She can’t
remember names of everyone but recalled a few: Bo Johnson’s mother, Linda Johnson,
said he was a bad surgeon and recommended she not go to him. Cheryl also recalls a
nurse that had worked for Dr. B that could tell a lot of stories. She couldn’t remember
the nurse’s name. One of the checkers at Albertsons, Vicky Severude, has had many
concerns. She told Cheryl that she wouldn’t let him touch her because she had heard too
many stories. (Cheryl thinks she hears these stories from customers passing through the
check-out.) Vicky is currently home recovering from knee surgery performed by Dr. B.
Cheryl also recalls a nurse (southern, wears glasses, early 60s, works in home health or
hospice) that was a patient of Dr. Schneider. Dr. S sent her to Dr. Gee for a procedure




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that involved Botox in her neck. She had a bad reaction to the Botox and now has some
permanent paralysis. This nurse speaks very badly of Schneider for referring her to Dr.
Gee. It appears to be more of a personal issue, because she is primarily offended that Dr.
S. did not call her after the Botox incident. Nevertheless, she is telling Cheryl and others
not to let Dr. Schneider touch them.

Cheryl has heard that Dr. B is good to his staff and pampers them with flowers and food.

Cheryl said that Dr. S is now talking about doing less work in Cody and focusing more in
Billings. He feels that the hospital has covered up a lot of what Dr. B has done.

Cheryl said that Dr. Schneider has saved the voicemail messages of numerous people
who called him and said that they would testify on Dr. S’s behalf against Dr. B. These
people called after reading about the suit in the paper.

Cheryl got the impression that many people in Cody thought that the flier was not true,
and that Dr. B was not hurt by it.




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                                 Interview with Dr. Emery
                                    December 21, 2011


Location: Dr. Emery’s office

Time: 4:00 – 5:20

We started our meeting by discussing Dr. Biles’ DUI arrest. Dr. E noted that the arrest
did not appear in the police blotter, to his knowledge. He observed that Dr. B had a cut
on his face in the picture and thought there might have been an altercation with the
arresting officer. Dr. E also noted that all of the patients that he talked to after the flier
was released (at least 30) seemed to be very sympathetic to Dr. B. Most seemed to think
that the mug shot was a “fake” and felt sorry for Dr. B. Dr. E didn’t think it harmed his
reputation at all.

Dr. E was puzzled that the hospital was so quick to defend Dr. B and that the issue of the
DUI was never discussed in any committee meetings that he was aware of. He pointed
out the seriousness of a DUI for a physician – is he fit to practice medicine or perform
surgery? In some states the physician would have been immediately suspended, pending
investigation.

I asked who was on ortho call for the hospital on the night of the DUI. Dr. E didn’t think
Dr. B was on call, but didn’t know who it was. He pointed out that Dr. B is always on
call for his own patients.

Dr. E explained that the reason the partnership split up was due, largely, to Dr. E not
wanting to be around Dr. B’s drinking, as well as not wanting to be associated with the
variety of issues resulting from his drinking.

Drinking and driving/Drinking at the workplace:

Dr. E heard rumors of drinking late at night at the office with employees. Dr. E has not
been in Dr. B’s office, but he has heard that Dr. B installed a bar after he expanded the
space. Dr. E thought that Scott Wilson would be able to attest to this. Dr. E continued to
be concerned about the drinking when Dr. B would bring a tray of “big” mixed drinks to
Dr. E and Dr. Schmidt after hours at the office while doing dictation. Barb Carlson, the
business manager, was also there at these times and Dr. E indicated that she was
uncomfortable with this, as well. She and Dr. E would usually take a sip (Crown and
Coke) and pour the rest out. No patients were present in the office at this time.

On one occasion (over 10 years ago) Dr. B and his wife rode their Harleys to Dr. E’s
ranch. He was drinking from a bottle of whiskey (?) that night.




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Dr. B. formerly owned the Bronze Boot. Even after it closed down, he continued to hold
the liquor license and allowed employees of the medical office to buy their liquor through
the license. Dr. E remembered that Dr. B bought “a lot” of hard liquor.

Dr. E said that he often wondered and worried about the “incoherent” dictations and
correspondence. Sometimes, Dr. B would ask Dr. E to edit correspondence (described as
sometimes angry letters that wandered into weirdness). Dr. E heard that there was a
transcriptionist that commented that sometimes Dr. B’s evening dictations became
incoherent. Dr. E. has a couple of examples of letters that Dr. B wrote that he thought
were not rational. Dr. E. kept these because he intended to confront Dr. B about them but
never did.

Another example of an irrational communication was a letter that Dr. B wrote to a former
patient and friend of his (then) teenage daughter. It seems that the friend told a coach that
Dr. B’s daughter had been smoking. Dr. B wrote a letter to her that “fired” her as a
patient, threatened to sue her and her parents, and demanded that she return his
daughter’s CDs. He also indicated that no one in her family would be treated by any
physician in his practice. Dr. E was offended by this because he and Dr. S were not
consulted, but were included in the practice that Dr. B referred to. This letter was kept in
the patient’s chart, which was common property to the practice.

Dr. E also pointed out that Dr. B has had some surgical complications due to
“inattention”. In particular (within the last 7-8 years), one surgical patient had a
complication, months later, due to medication that was prescribed outside the realm of
orthopedics. The script was written by the PA (Darrel McCain?), but signed off by Dr. B.
Later, the PA left for personal reasons. After time had passed, and the patient
experienced complications from the medication, Dr. B wrote a lengthy note to the chart
blaming the PA for the prescription and (I think) indicating that he had fired the PA and
claiming that he didn’t authorized the script. Dr. E has the note from the chart and thinks
that it was dictated late at night. (I asked if there was a time stamp for dictation, but
there’s not.)

At one time, Dr. B interviewed a PA named Brett Aguirre (sp?) for a position in his
practice. Brett now works at the hospital in Worland. Dr. B wanted him to start on a
particular Monday, at which time Brett needed to attend a funeral. Dr. B told him he had
to be there or he didn’t get the job, so Brett didn’t take the job. Brett reported to Dr. E
that, during the lunch interview, Dr. B had multiple mixed drinks, then picked up the
phone to take a call. He then announced that he was on call and had patients to go see.
Brett was shocked by this behavior.

A surgical tech named Jeff Lapp (now in Worland?) worked with Dr. B.. Jeff previously
was a surgical tech at WPH before Dr. B hired him. According to Dr. E, after their first
road trip to Thermopolis, Jeff drove the car on future trips, citing there was too much
swerving (from drinking) when Dr. B drove. Dr. B later fired Jeff. He called WPH
(Doug McMillan?) and told him he’d pull his cases if they hired Jeff. He also told the




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Board members of the hospital in Worland not to hire him. Dr. E tried to tell Dr. B that
he wasn’t allowed to do that.

Within the last 5 years, Dr. E had a patient that worked at the liquor store on the West
Strip (behind the gas station). The patient (can’t recall name) commented that the doctor
in the black pickup truck stops in every week for a bottle of Crown Royal.

Mrs. Biles practicing medicine:

Dr. E was aware that Mrs. B was seeing patients as a primary care provider. He pointed
out that, not only is she not a physician, nurse or PA, but she is not an employee of the
practice (or was not at the time that Dr. E was aware of the incidents). He knew that she
had, at one time, written a note in a patient’s chart at WPH, when she went to the ER and
saw a patient without anyone else present. He believes the hospital took some
disciplinary action on this. Dr. E said that she would also run down their list of patients
and pick the ones with good insurance to become Dr. B’s patients. In another incident (>
7 years ago), Mrs. B saw one of Dr. B’s long-term patients in Thermopolis, then ordered
an MRI and scheduled shoulder surgery for the patient. The patient finally insisted on
seeing Dr. Biles (as she had not even seen a PA at this point). At that time, Dr. Biles
fired her as a patient. The patient called Dr. E in tears, trying to figure out what to do,
and Dr. E referred her to Dr. Randolph. Dr. E believes that the hospital in Thermopolis
wrote a letter stating the Mrs. B could not see patients. Dr. E has the name of this patient
in correspondence with her that he retained.

Though someone other than a doctor can call in a script, or make notes in a chart, Mrs. B
was not even an employee, which calls into question HIPPA violations.

Dr. E didn’t blow the whistle on these issues because he figured Dr. B would “self-
destruct” by himself.

Treatment of employees:

Dr. E indicated that Dr. B unfairly harassed his employees. Dr. E felt that Dr. B has been
through 12-13 PAs, and possibly 50 office staff. Dr. E wasn’t sure why Jeff Lapp was
fired, but thought that Dr. B would harass his employees, make things difficult for them
to get them in “trouble”, and set them up for failure until they just quit. Dr. E had no
knowledge of sexual harassment.

Gun Incident:

Dr. E was not present for the gun incident. He does have a copy of the complaint letter
from Barb Kessler (x-ray tech). According to Barb, Dr. B pointed a military-looking gun
at her in the hallway and told her to dance. Her letter instructed him to cease and desist.
Dr. B wrote a letter back that threatened her with a counter suit. Dr. B indicated that he
had 3 witnesses that say he didn’t point the gun at her. (Dr. E previously had a copy of
Dr. B’s letter but now it is missing.) Soon after this incident, Dr. E attended an




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emergency board meeting for the Cody Medical Arts Complex (CMAC). Attending this
meeting were Doug McMillan, WPH board member Carol Roberts (he thinks), a
representative from St. V’s and Dr. E, who was there to discuss subleasing space from
Dr. Gee. Dr B. was supposed to be there, but left the meeting and then called in on
speaker phone. Dr. E thinks he was at Bill Simpson’s office. At that time, he admitted
to those present that he pointed the gun at her. Shortly thereafter, CMAC instated a
policy forbidding guns, alcohol and illegal drugs in the building.

Other issues/business relationship:

At one time, Dr. E would have still trusted Dr. B to treat him or his family, but not
anymore. Dr. E would also not do business with him again since he can no longer trust
him.

Dr. E mentioned the loss of more than $200k on a building in Powell that they were
planning to sell to Dr. Schneider. The contract was about to be signed by Dr. Schneider
when Dr. B went back on his word about supporting him, and switched his allegiance to
another neurosurgeon. They later sold the building to someone else at the
aforementioned loss.

On another occasion, Dr. B “got them involved” in a lawsuit dealing with the purchase of
the property for the current building. They were sued by Musser who claimed to be their
exclusive realtor on another property under contract, when Dr. B purchased the current
property through a different realtor.

Dr. E thinks that they have lost 7-8 lawsuits with Dr. B over the years.

Follow up:

Dr. E will be out of town until Jan. 3. I will call him later that week to see if he has any
other comments and to get copies of the documents he mentioned.




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                               Interview with Sue Gibbons
                                     January 5, 2012
                                          1:20

Sue is Dr. Emery and Dr. Schmidt’s office manager. She was also the office manager
when the group included Dr. Biles.

Drinking:
Sue never saw Dr. Biles drink or drive under the influence during work hours. She was
told he had an accident while under the influence. He supposedly hit a tree on the lower
SouthFork. He told people he hit black ice. She heard rumors of a couple more
accidents, some from people that work for him now or have in recent years. She
mentioned Patti Smith might have info on this. Patti was a former transcriptionist and
was fired just a few months ago. Sue thinks she might still be in the area. Sue has no
knowledge of him treating patients while under the influence.

Sue also heard that someone went to get him after an accident – probably his son.

Sue thinks that Dr. B was supposed to be on call the weekend of the DUI. Call goes
through 7-7:30 Monday morning. She recalls being told there was a patient in the ER
who was informed the ortho doctor was unavailable. Supposedly, a therapist (Brian
Dalton) made a comment when they found out about the DUI, that the DUI must have
been the reason Dr. B wasn’t available.

Friction with other Doctors:
Sue noted there was a lot of friction with other doctors. Dr. B was very verbal and tries
to be the “big dog”. Dr. B told a friend of hers (Rhonda Knapp, re: daughter Toma) that
she should sue another physician for malpractice for an unsuccessful surgery.

Sue recounted the story of how Dr. Emery had gotten an anesthesiologist, Harry Cohen,
to come to the area. Dr. Biles supposedly left Sandra Whalen (CRNA) a voice mail that
he would run her out of town the same way he’d run Harry out of town.

Relationship with patients and employees:
Dr.. B frequently fired patients if they were not healing right, non-compliant, or not
paying.

One employee was fired soon after a attending a going away party at the Silver Dollar.
She had too much to drink and touched Dr. B on his leg. Mrs. B “glared” at her and she
was gone a week or 2 later. (Lori ? Dennis, maybe at Billings clinic?) Sue thinks more
employees were fired than quit.

Sue felt Dr. B was very verbally abusive in front of others. He had been “short” with Sue
on occasion. She said that everyone that worked for Dr. B had it looming over them that
“it only took one doctor to fire you” and he was that doctor.




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Sue recommended I talk to Nita Brost about sexual harassment.


Mrs. Biles:
As far as Sue knows, Rachel was not on the books as an employee. She never kept time
for Mrs. B. Barb Carlson might know (former business manager through 08/09). Mrs.
Biles saw patients. She wore a lab coat in the office and also went to the ER. Sue is not
sure if she ever saw patients at the ER or just monitored their insurance to refer to Dr. B.

Other:
Sue did not witness the gun incident.

Sue thinks it’s general knowledge in the community – plumbers, service people, etc. –
that work performed for Dr. B is on a cash upfront basis, only. Sue’s ex-husband once
power-raked Dr. B’s yard and they had to ask repeatedly to get paid.

Sue heard that there had been complaints to the State Board by former PAs, related to Dr.
B operating under the influence of alcohol.

Sue provided a list of former PAs/employees:

LuAnn Hicks (husband Don) lives in the area and worked with Dr. B for a long time and
travelled to clinics with him.

2006:
Brad Coughlin (PA with Scott Wilson)
Darin McCann (national guard?)
Harley Morrell (after Scott, now with Dr. Schneider)
Kevin Bell (PA)
Steve Zirker (PA)
Tom Ahern (Sue doesn’t remember him)

2005:
Harley Morrell
Gretchen Wood
Michael Trenam (Worked with Dr. E, then Dr. B)
Tom Ahern
Travis Preszler (PA)
Dennis Frerichs
John Vipperman (Still in area)

Earlier, Tracy Bacon was a PA during the time of the Pendray lawsuit.

She also mentioned Stacia Jenson, RN, was a former employee who now works at the
Sister Joanna Brunner clinic.




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Jessie Graham was an x-ray tech that was fired, but may not be in the area anymore. Sue
also mentioned an OR tech named Connie Andrews who worked for all 3 doctors. Sue
thinks she’s in Arizona now.

Sue noted that Barb Carlson ran everything through Dr. B. Dr. B would often call Barb
to come in on evenings and weekends. (Barb lived 6 miles out.) Dr. B wanted his
employees to be available to him all the time. He called Sue 2 times at home when she
lived up the SouthFork, but she refused to come in. Sue recounted that, for months, she
had to spend time with her dying husband in Billings and at home. During that time, she
would come into the office periodically to take care of business and then work from
home. She recalls one time that Dr. B called her at home and demanded that she come in.
She had to finish some urgent care of her husband and then came in, only to find out that
Dr. B wanted her to make a simple phone call. This made Sue angry but she stood up to
Dr. B. She thinks she was about to be fired at the time of her husband’s death. She felt
like Dr. B was more concerned about her work time, than her situation. After her
husband died, Dr. B called Sue at home (she thinks after he had been drinking), crying
and apologizing to her.

Sue stated that Dr. B was very rude to the PTs downstairs and selfish with his time. She
remembers Brian Dalton and other PTs would try to connect with Dr. B and he would put
them off for hours. After waiting on him, they would find that he had gone home. Brian
D. and Bo Tipton were the ones who, after the DUI hit the website, brought the mug shot
to Sue to show her.




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                               Meeting with Sue Gibbons
                                   February 8, 2012

I met with Sue today to talk about the countermeasure sweep of their office. We also
talked a little more about the billing process as it related to Rachel Biles.

Sue stated that Rachel was, in fact, on the payroll for awhile. Her primary role, at that
time, was to schedule surgeries. In doing that, she would need to meet with patients and,
if required, order specific lab work that was needed before the surgery could be done.
Sue thinks that any of Rachel’s time seeing patients would have been billed under Dr. B’s
provider number. (There is a way to bill “incident to the doctor” when you can use a
modifier for a PA or NP who sees a patient when the doctor isn’t present, but is in the
building. They rarely used this because providing proof of all of the requirements was
very tedious.)

Sue did confirm that Rachel saw or screened patients without Dr. B present. She also
confirmed that, to the best of her knowledge, Rachel did not have any type of medical
license. She went to veterinary school. Sue stated that virtually anyone can legally write
in a chart.

Sue said that Dr. Biles did see both M/C and M/A patients. Currently, however, she’s not
sure how many M/A patients he sees. It is not uncommon for patients to come to
Schmidt’s/Emery’s office and say that Biles’ schedule is full and they were told to go see
Schmidt or Emery.

I asked Sue if she knew anything about Dr. B using a controlled substance. She said she
knew that doctors have written prescriptions for him, but she had no way of knowing if it
was medically necessary or not.

Sue was curious if there was any connection with Joe Maxwell and his drug charges and
Biles’ office. She remembers that they always ordered all of their food from Maxwells
for all occasions, and always thought that was strange.




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                            Phone Interview with Jodi Glover
                                    January 14, 2012

Context: Jodi was a medical assistant for Dr. Biles and also performed clerical and
administrative tasks. She now works at the Billings Clinic. Jodi worked for Dr. Biles
from 2007 – 2011. According to Colette, Dr. B did not treat Jodi well.


Jodi occasionally traveled to clinics (Thermopolis) with Dr. B. She never witnessed any
drinking and driving. She did not see any drinking in the office, nor did she hear of
anyone complaining about his drinking.

Jodi heard that Dr. B had an accident, but did not know anything about alcohol being
involved.

Jodi had a bad experience at the end of her employment (she did not elaborate). She
commented that Dr. B is very driven and difficult to work for. He expects a lot. His
moods are very volatile – “very up and down”, which makes for a stressful work
environment. She recalls receiving only a few calls at home, if he had a question on a
patient. She acknowledged that he goes through quite a few employees. Two PAs left
while she was working there: Kevin Bell, and Jason Lawn.

When asked about Dr. B’s relationship with other doctors, Jodi doesn’t remember
anything in particular, only some conflicts with other physicians, primarily orthopedists.

Mrs. Biles did not work in the office during Jodi’s time of employment.




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                         Conversation with Nena Graham-Burke
                                  Re: Jessie Graham
                                   January 19, 2012

Context: Jessie Graham is Nena’s granddaughter. I have not been able to locate Jessie,
so I called Nena. Jessie was an x-ray tech for Dr. Biles, and was supposedly fired just
before she was going to have surgery (per Colette S.).


Scott Wilson reported that when Jessie left, Dr. B told Scott not to give any references for
Jessie.

Nena spoke with Jessie after I called, and then called me back. She indicated that Jessie
does not want to get involved in this case. Dr. B didn’t treat her well and tried to keep
her from getting another job. Nena said that Dr. B was “not a nice person” and that
Jessie’s involvement with this case would just bring back bad memories for her.




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                              Interview with Julie Hammond
                                     January 11, 2012

Context: Julie was a bartender at The Downtowner, starting in 2006.

Julie indicated that, as of the time she started, they were no longer allowed to serve drinks
“to go”. Julie stated that she never served takeout drinks during her employment. She
noted that Sue Brimhall was not on the premises very often.

Julie gave me the names of other former employees:

Ila Gulliam (now at Y-Tex, likely to talk)
Marilyn Miller (now works at courthouse in the assessor’s office – might talk)
Andrea Cuzzens (location unknown)
Corliss Cralson (retired)
Wendy Cortez (now at Wapiti RE and Brewgard’s, likely to talk)




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                              Interview with Dr. Jeff Hansen
                                    February 15, 2012


Context: Dr. Hansen worked with Dr. Biles from 2004-2005. Dr Biles asked him to
work with him to round out his practice.


Dr. Hansen thought the flier was bizarre and inflammatory. He initially thought some of
it might be true, but later determined much of it was untrue.

Dr. Hansen heard a lot of rumors about excessive drinking. He thought Dr. B was a very
good surgeon but was concerned about the drinking and the impact on his abilities as a
physician and surgeon. Dr. Hansen was in contact with Scott Wilson, who had a
significant amount of first-hand knowledge of Dr. B’s impairment.

Dr. Hansen had a patient (can’t recall name) whose spouse (the husband, he thinks)
underwent surgery with Dr. B. at NWSC. The patient saw Dr. B go out to his car and get
a drink of something from a bottle just before he performed the surgery. They were not
thrilled with the outcome of the surgery and asked Dr. Hansen his opinion of the situation
and whether that could impact Dr. B’s ability to perform surgery. Dr. Hansen thought
this patient was from Worland or Thermopolis.

Dr. Hansen has never seen Dr. B impaired nor smelled alcohol on his breath. During the
time that they worked together, Dr Hansen would receive long, rambling phone calls
from Dr. B at night. His perception at the time was that Dr. B was “drunk dialing”.

I asked Dr. Hansen about whether or not he felt like he was run out of the surgery center.
He said, yes, a little bit. In order to perform surgeries at the surgery center, a physician
must have privileges at WPH. Due to a mistake on his application related to whether a
lawsuit had been filed or not, he was not granted privileges. Dr. B was supportive of the
hospital’s policy regarding privileges. After his privileges were denied, Dr. B. no longer
allowed Dr. Hansen to see patients at the clinic. Dr. H felt that his seeing patients there
was primarily to benefit Dr. B and his practice. He always felt that Dr. B was very
possessive of his patients and wanted to make sure they stayed with him.

Dr. Schneider
Dr. Hansen knew Dr. B and Dr. Schneider were “enemies” even before the mailing, but
never fully understood the reason. He felt that the Jones case did a disservice to Dr. S. In
his opinion, the patient stayed home too long before receiving help and by the time she
got to the hospital, Dr. B got involved in sending her to Billings. (He didn’t know if Dr.
B was actually at the hospital but felt like he was the one that directed her elsewhere.)
Dr. H also felt like they did unnecessary procedures to Sandra Jones and it was unfair to
Dr. S.




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Dr. Hansen wants to help Dr. Schneider. His general impression is that Dr. B has been
diverting patients away from Dr. S. He has heard from patients (but likely not
documented) that they were encouraged by Dr. B’s office not to go to Dr. S. He thinks
they were usually sent to Dr. Goodman. Dr. Hansen can’t remember any patient names
off-hand. He doesn’t remember documenting it, and would probably have done so only if
he had recommended Dr. S to the patient, and the patient responded by saying that they
had been told not to see Dr. S.

Rachel Biles
Dr. Hansen remembers that Rachel was “strongly involved” at the clinic. From Scott
Wilson, he knows that she even reviewed the PA’s records. He recalls a lot of
involvement in various ways when he was there – computer work, scheduling, checking
in patients. He thinks she probably saw patients, but can’t remember in what capacity.
He did feel that she stretched the limits of what a non-healthcare professional should be
doing.

Controlled substances
I asked Dr. Hansen if he had any knowledge of Dr. B ever illegally possessing a
controlled substance. Dr. Hansen said that Dr. B never asked him to write a Rx for him,
but he heard from Scott Wilson that he had asked Crystal to fill a script on his behalf (he
thinks for Benzodiazapine/Xanax). Dr. Hansen did witness Dr. B offer a Xanax to Scott
Wilson. His perception was that it was from Dr. B’s own supply. Dr. H noted that he
didn’t have the impression that they were prescribed to him by another physician.




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                                   Interview with Jeff Lapp
                                      February 20, 2012


Context: Jeff was a surgical tech for Dr. B eleven years ago. Jeff now lives in Worland.

I asked Jeff about his travels to the Thermopolis clinic with Dr. Biles. Jeff confirmed what
others had told me – that after riding with Dr. Biles once, he took his own car. Dr. B did not
give Jeff a hard time about it, since Jeff was from Worland and used the excuse of needing a
separate vehicle to go there. Jeff further explained that Dr. B would run through the liquor
store in Thermopolis (Curtin’s) and pick up two mixed drinks of Crown Royal and Pepsi for
the trip home. At the Cody clinic, Jeff would occasionally go to the Downtowner and pick up
two of the same mixed drinks for Dr. B. He clarified that this was only at the end of the day,
when Dr. B was working on charts and dictation. Jeff recalls that Dr. B had a charge account
at the Downtowner and told Jeff he could pick up some beer for himself while he was there.
He noted that Crystal often stayed late with Dr. B in the evenings. (Her husband worked for
Dr. B at his ranch.)

Jeff worked at WPH prior to working for Dr. B. I asked him if he was ever suspicious that
Dr. B was impaired while treating patients or performing surgery. Jeff said that, a couple of
times when they were on call together, he was suspicious. He couldn’t really pin point
anything, but knew that Dr. B was acting different. He could not smell alcohol on him.

Jeff was not aware of any usage of controlled substances.

Jeff said that he “hated the guy.” He said Dr. B was mean and nasty and a bad person. He
was a “manipulative, controlling piece of shit.” Jeff said that Dr. B treated his patients very
well, but his employees terribly. He commented that John Vipperman and Mike Trenam were
there at the same time and were treated equally bad by Dr. B. Jeff noted that Mike “wanted to
kill the guy” (not literally). Jeff said he couldn’t believe that he worked for him that long,
but he would manipulate them by being mean, but later buying them stuff. At one time, Dr. B
gave Jeff a saddle. At Christmas, Dr. B bought a variety of gifts for Jeff and his toddler son.
(Jeff was a single parent.)

Jeff was fired by Dr. B after three years. Jeff made plans to go on a trip to Alaska, and when
he returned, he received a call from Crystal letting him know that he was fired. (Jeff
described Crystal as a real piece of work, and Dr. B’s right hand.) The reason they gave for
firing him, was that they had heard from Ron Christensen (a therapist in Worland) that Jeff
was planning on quitting when he returned. Jeff filed for unemployment and, eventually,
received the benefits after fighting with Dr. B over it.

Jeff mentioned that Dr. B treated Barb Kessler poorly. He also gave me the name of Connie
Andrews, an x-ray tech that worked for Dr. B for many years. Jeff thought that Dr. B treated
her badly. Jeff mentioned Sandy Ronne, who worked in the front office for Dr. B. and later
worked for Dr. Emery. She now lives in Torrington, and Jeff is going to give me her number.




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                           Phone Interview with Alan Lawler
                                  February 27, 2012


Context: Alan allegedly saw Dr. B partake of illegal drugs


Alan is currently the ranch manager for Dr. Emery, and was formerly the ranch manager
for Nancy Draper.

During his time as manager for Draper, he served as bartender at a party at her house.
There were approximately 50 people in the house, but only one other person in the room
at the time. During the party, he saw Dr. Biles produce a tin of something, and very
discreetly remove something from the tin and put it under his tongue. The tin did not
look like a tobacco container, but he could not see what was inside the tin. There was
another person present at the time, standing next to Alan. He saw the same thing and
they then discussed what the substance might be. They were suspicious that it was
cocaine, but could not be certain. Alan did not want to provide the name of the other
person because he is/was in law enforcement.

Alan suggested I talk to “young” Don Hicks. Don worked for Dr. B at his ranch at one
time, and his wife, LuAnn worked for Dr. B in his office. Alan remembers Don talking
about some activities of Dr. B and thinks he might have some information. (Note: I have
already made contact with LuAnn and she definitely did not want any involvement.)

Alan did not want his name associated with the information he provided.




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                            Interview with Vicki Mollett
                                  March 19, 2012


Context: Vicki’s son, Luke, had knee surgery with Dr. Biles approximately 4 years
ago.

Vicki’s son, Luke, had both knees scoped by Dr. B approximately 4 years ago. Luke’s
surgery was performed at 5:00 in the afternoon at the surgical center. During post-
op, Luke was groggy and Vicki was with him. He was expressing his desire to go
home, rather than spend the night. The nurse told him that he could not leave as
long as they were still draining both knees. Vicki recalls that there were two
drainage cups, one for each knee, with both cups full of fluid. When Dr. B entered
the room, Vicki mentioned that Luke would have liked to go home, but realized his
knees were draining. Dr. B said that it was “no big deal”, pulled the drains out of
both knees, and told him to go home. Vicki was shocked and thought that the nurse
looked surprised. Two days later, Luke had to go back to the doctor’s office to have
both knees drained.

Vicki recalls that she asked Luke, “is he drunk?” after Dr. B left the post-op room.
Luke responded that Dr. B always looked like that. Vicki thought that his swagger,
half-lidded eyes, and posture of leaning back against the wall was unusual, but
figured that Luke was correct since she didn’t really know Dr. B. (Vicki noted that
she had been married to an alcoholic and was familiar with some of the signs of
alcoholism.) She didn’t pursue the issue any further and did not really consider the
possibility that he was drunk until the papers started covering the DUI and flier.

Vicki cannot remember the name of the post-op nurse, but said she’d try to pin
down the date of the surgery and let me know so that we could possibly try to
determine who Luke’s nurse was.

Luke waited two years to have his knees looked at again. The use of his knees is
very limited, now. He saw Dr. Schmidt who did surgery on only one knee. Vicki
thinks that he alluded to the fact that the initial surgery on both knees was not done
properly (and should not have been done on both knees at once) and that the knees
would not be able to be fully repaired.




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                              Interview with Harley Morrell
                                     January 12, 2012

Context: Harley worked for Dr. Biles from October, 2005 – April 2006. (He worked
with Scott Wilson and Crystal Shearer).

Drinking:
Harley made a complaint to the State Board after he left Dr. B in 2006. He doesn’t
remember if it was in writing. He recalls that they called him back and interviewed him.
The complaint was about Dr. B’s drinking.

Harley said that he had seen Dr. B drink at work after hours, and has smelled alcohol on
his breath during the work day. He never saw him take a drink of what he knew, with
certainty, was alcohol. He does recall that Mrs. Biles brought drinks in red plastic cups,
with lids, to Dr. B at the surgery center. Harley thought the drinks smelled like Crown
Royal.

Harley traveled with Dr. Biles to Thermopolis and Lovell. He remembers Dr. B drinking
in the car. He recalls a bottle of Crown Royal in the car. Harley was leery of the
situation, but didn’t ask to drive. He figured Dr. B would be mad at him and he wasn’t
comfortable asking to drive Dr. B’s truck.

Harley doesn’t recall hearing complaints from other employees, but he felt like everyone
was scared of Dr. B – his power, position, and his “pull”.

Harley doesn’t recall hearing of any accidents that Dr. B was involved in.

Employees:
Harley recalls that Crystal (now Kreis-McDermott) was treated like “gold” – she did
nothing wrong. For everyone else, Dr. B would find something to complain about. He
berated employees in front of others – in the OR, office doctors’ lounge, etc. On at least
one occasion, Scott Wilson had to physically hold Harley back from Dr. B.

Other:
Harley remembers that Dr. B had a snake in his office.

Harley didn’t think that Destiny Leonard at the surgical center will be helpful or talk to
me. Dr. B is her physician.

Harley feels that Dr. B is a great surgeon; he just doesn’t like him as a person. Harley
noted there were 21 PAs before him.

Relationship with other doctors:
Dr. B’s relationship with other docs depended on who he was buddies with at the time.
When Harley first started, Dr. B tried to get Dr. Schneider to invest with him on a ranch
in Burlington. He even “loaned” Harley out to Dr. Schneider to help with surgeries. Dr.




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B was able to get the assist fee on these. At the end of his employment, Harley was
working more with Dr. Schneider than Dr. B. When Harley went to work for Dr.
Schneider, it caused a huge conflict that Dr. Schneider “stole” Harley. After that, Dr. B
spread negative things about Harley.

Harley recalls that Dr. B made some comments about Dr. E, but nothing about him trying
to run Dr. Emery out of town. Harley recognized that Dr. B did not get along with
Schmidt and Emery.

Harley recommended that I contact Dr. Harry Cohen who is now in Tuscon (Oro Valley).
Dr. Cohen is the anesthesiologist that was rumored to be run out of town by Dr. B.

Mrs. Biles:
Harley knew that Mrs. Biles saw patients, went through charts, etc. but knew that Scott
had more info on this and kept notes.




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                               Interview with Debbie Nilson
                                      January 6, 2012

Debbie was a former “medical assistant” for Dr. Biles. She worked for him for 4-5
months in 2006. She quit because she could no longer “deal with the craziness”.

Debbie’s background is as a legal clerk. She wanted an administrative assistant position,
and thought he was hiring her to spend ½ her time with the clinic, and the other ½ with
his personal business. When Dr. B hired her, he assigned her the position of medical
assistant. She did not have a medical background. She filled in during a time that he was
without coverage for nurses. Dr. B’s wife helped some during that time, but she was not
in much either, so Debbie filled that gap. Debbie noted that, originally, she thought his
wife did clinics, but he was so rude to her and yelled and her, she wasn’t around much.
She felt that she was doing tasks that a nurse should do.

Mrs. B would also wear a lab coat and see patients. Patients believed both Mrs. B and
Debbie were medical professionals. Debbie was introduced as a “medical assistant” to
patients.

When she first started working for Dr. B, he built her up and praised her for the first few
days. Then “reality set in.” Initially, she thought he was bipolar until she saw the
drinking.

Debbie traveled to various clinics with Dr. B. She wore a lab coat and took the patients
to the exam room, took out stitches, drew up Novocain, fit orthopedic boots for people
fresh out of a cast, stocked the store room. She was bothered/uncomfortable with the task
of calling patients on Coumadin, telling them the results of their tests and then instructing
them on how much Coumadin to take based on ranges in graphs. She was frightened that
she would make a mistake since she had to use some judgment. This part of her job (she
felt) was not optional. Scott Wilson would try to help her in calling the patients.

Debbie said that Dr. B had no qualms in cutting her down in front of patients if he was in
a “pissy mood”. Once in the Cody clinic, Debbie used the wrong gauge needle and he
threw the needle out and berated her in front of the patient, commenting that you just
couldn’t get good help anymore.

Drinking:
When Debbie accompanied Dr. B to the Greybull clinic, they would sometimes go
through Burlington because Dr. B has a ranch there. He brought red, plastic cups with
him in the car and poured Crown Royal and Coke in the cup to drink on the road. When
he finished one cup, he’d stop by the Burlington Bar to get more Crown and ice. (I
believe someone at the bar would pour it for him.) Sometimes he just kept a bottle
behind the seat. Dr. B would not let Debbie drive, although she did ask. She said that
booze kept him mellow.




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Debbie is worried about retribution. After she quit working for Dr. B she worked for a
time with Bill Simpson. She reported that Dr. B called Bill frequently to try to sue
people. At the time, Dr. B was still in practice with Dr. Schmidt and Dr. Emery. She
saw threatening, “out in left field” letters that he wrote to them. (Debbie’s background
for 20+ years was as a legal clerk and was familiar with legal documents.)

Debbie is from Burlington and her parents still live there. She says it was a joke there
that when people would see his big, black pick-up at the Burlington Bar, they would head
in for free drinks.

She recalls one time when Dr. B provided Corona for all in the office after hours.

Debbie heard of a complaint being made to the State Board related to someone smelling
alcohol on Dr. B’s breath while on call. This was after her employment.

Treatment of employees and others:
Debbie felt like Dr. B did things just to spite people. He had a snake in his office. Dr.
Devencinsco (who had an office in the same suite) was very afraid of snakes. She had
asked him to get rid of it but he didn’t. One evening, the snake got out. The next
morning he was yelling at everyone to find the snake but to be quiet about it so that Dr. D
wouldn’t know. He told her that he had gotten rid of the snake. Eventually, he had to
call his son in to help him find it.

According to Debbie, Dr. B had a run-in with Adrian Praetor at his ranch. She claims Dr.
B didn’t like Adrian because he was a Mormon. She also claims that he went through a
lot of people to run his property.

Debbie tried to go to bed around 10:00. Dr. B called her more than once at 11:30, 1:00
etc. just “bitching” about Crystal, Scott or just rambling on about office issues. He would
wake her up at these times. A couple of times she tried to ignore the calls and he left
messages on her machine that talked bad about people in the office. (She did not keep
these messages.) If she didn’t answer the calls, he would ask her the next day where she
was, why she didn’t answer the phone, what if it had been an emergency, etc.?

Debbie recalls that Dr. B’s current PA was in a church class with her about 2.5 years ago,
and that the PA was constantly called out of class with phone calls.

Crystal was Dr. B’s friends with the daughter of someone Debbie knows. Debbie said
she would try to find out how to reach Crystal.

Debbie remembers that Dr. B drove Brian Dalton (PT director) crazy with unreasonable
requests and demands. He always threatened firing employees.

Dr. B told Debbie frequently that he would sue someone – people that worked for him
such as service providers -- if he didn’t get what he wanted. She says he tried to dig up
dirt on people to try to intimidate them.




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Debbie quit without notice. Dr. Biles called her to “rail on her” about something and she
told him she was “too old for this shit” and quit.

Holly ??? was a transcriptionist who quit because of his unreasonable demands.

According to Debbie, the office was always chaotic and never ran smoothly. She said it
sounded really good to work there because he paid well and gave generous Christmas
bonuses.

Debbie says that one of Dr. B’s former x-ray techs now works at the Billings clinic. She
can’t remember his name.

The following people were working at the same time: Holly, x-ray tech, Crystal, and
Scott.

Debbie did not see any sexual harassment nor was she ever concerned for her physical
safety. She only worried about legal retaliation.

Debbie mentioned a nurse named Fran ?? that worked at the surgical center and hospital
off and on.

Relationship with other physicians:
Debbie has hip dysplasia. Approx. 10 years ago Dr. Schmidt replaced her right hip.
While working for Dr. B, her hip started bothering her. Dr. B told Debbie that Dr.
Schmidt was the “dumbest mother-f…ker doctor” and that she was putting her life in her
own hands to go under the knife with him. She just had her other hip replaced recently
and her right one is still fine.

Debbie reported that Dr. B also “railed” about Dr. Emery. He told her that Dr. E was
stupid and a liability. (This was because of a big malpractice lawsuit that Dr. E was
involved in.) Dr. B indicated that he didn’t want to be in practice with Dr. E and took
credit for all of the ideas related to the clinic.

Other:

Debbie knows of a patient in Burlington, Mike Riley, who recently underwent surgery
with Dr. B. Dr. B operated on his knee and hip at the same time and (supposedly) nearly
died.




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                     Follow up phone interview with Debbie Nilson
                                  January 31, 2012


I called Debbie to clarify some issues we discussed at our previous meeting.

Debbie confirmed that Dr. Schmidt did surgery on her hips, but Dr. Schneider did surgery
on her neck. Dr. B had made inappropriate comments about Dr. Schmidt and his level of
competency. Regarding Dr. Schneider, Debbie recalls that Dr. B, when discussing a
patient who had recently had neck surgery, said that “he wouldn’t take a dying dog to
Schneider.” This comment was made to Debbie after the patient left the room, and while
they were in the car on their way back to Cody. She recalls that he was drinking at the
time and had a habit of “blathering on” about things when in that frame of mind.

Debbie never witnessed Dr. B telling patients not to go to Dr. Schneider, but she said she
wouldn’t put it past him. He was not very professional when it came to judging his peers.
She thought that he could never accept anyone being as good as him.

I asked her if she was asked to sign a confidentiality agreement, or if she saw any for his
office when she was later working for Bill Simpson. Debbie said she was not aware of
any such documents. While she was working for Bill, he handled more of Dr. B’s
personal affairs, particularly those dealing with the ranch. She said that Dr. B often
wanted Bill to write letters that were slanderous and would provide drafts to Bill. Bill
had to tone them down a bit and Debbie said it made Bill want to pull his hair out.

I asked Debbie again about the former employee named Holly. She thought it was Holly
Miranda; supposedly Dr. B drove her crazy with his demands. She thought he treated
everyone badly and particularly picked on people who needed employment the most.




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                           Interview with Chad Petrowsky
                                    April 2, 2012


Context: Chad provided contract services related to a feedlot on Dr. Biles’
Burlington ranch.


Chad did quite a bit of work for approximately 6-8 weeks in 2007/2008 to move Dr.
Biles’ feedlot in accordance with the requirements of the National Resources
Conservation Services (NRCS) program. Chad picked up the project after another
person had started it. Once the feedlot passed the specific requirements and
deadlines of the NRCS program, he was “kicked off” the property. Dr. Biles claimed
that the workmanship was bad. Chad had about one week of work to do to clean up
the project. Dr. Biles owed him approximately $15,000-18,000. Frank Twichell, Dr.
Biles’ ranch manager, provided Chad with the letter from Dr. Biles, outlining the
problems with the project and why he wasn’t paying. The letter was 30-40 pages
long, and included information unrelated to the project. Chad thinks that Dr. Biles
wrote the letter, but had his attorney, Bill Simpson, review it. The letter
communicated that if Chad pursued the issue, Dr. Biles would sue him. Chad noted
that Dr. Biles got paid by the NRCS for moving the feedlot. (This is consistent with
information provided by Brent Berg.)

Chad sent Dr. Biles a bill, and tried to call him several times. After approximately 4-
5 months, Chad hired an attorney. The attorney also sent a letter and an invoice.
Chad was willing to negotiate and would have taken less than the full amount.
Chad’s attorney wanted a retainer of $10,000, so he ultimately dropped the issue.

Chad kept the letter he received from Dr. Biles and also provided a copy to Wes
Wilson, who did the dirt work. Chad thought that it took Wes 2 years to get paid by
Dr. Biles after taking him to court and finally settling with payment of money and
hay. Chad said he’d think about giving me a copy of the letter if he could find it.

Chad was at the ranch on a daily basis during the week and also worked many
weekends. He recalls riding around with Dr. Biles on the ranch, while Dr. Biles was
drinking, as they looked around at potential projects. Chad pointed out that this
was when Dr. Biles was buddy-buddy with him. He said that changed like a light
switch. Chad observed that Dr. Biles was somewhat abusive to his employees and
pretty hard on them. He thought that Dr. Biles was “always pissed off at the world.”

Chad observed that Dr. Biles ran through several people while he was at the ranch –
ranch managers, welders, plumbers, etc. He noted that projects were often half-
done on the ranch. One contractor would start the project, then get run off, and
another contractor would have to come in and finish.




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                           Phone call to husband of Linda Ross
                                    January 10, 2012


Role: Former transcriptionist for Dr. Biles

When I called to speak to Linda, her husband told me that she was in Georgia for awhile.
Mr. Ross told me that Linda retired on a “sour note” and she doesn’t like to talk about it.
He said more than once that those were very “trying times” and he was glad she was out
of it. She worked as long as she did because they needed the money.

Mr. Ross didn’t think she would call me back. He described the working conditions as
always having a cloud over the office -- sometimes it rained and sometimes it poured.




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                         Phone interview with Dr. Caety Schmidt
                                    February 21, 2012


Context: Dr. Schneider indicated that Dr. Schmidt could talk about her knowledge of
patients being turned away from Dr. Schneider


I asked Dr. Schmidt if she knew of any patients who said that they had been warned
against receiving care from Dr. Schneider. She couldn’t remember specific patients
saying particular things, but recalled that patients have discussed that they were told not
to go back to Dr. Schneider. She indicated that, probably, some of those patients
received the “warning” from someone in Dr. Biles’ office. (She told me that she
wouldn’t say she hadn’t heard it.)

Dr. Schmidt asked if I had talked to Cheryl Dominick and thought that she or her
husband, Steve, might have some information on that.

Dr. Schmidt does not see many of Dr. B’s patients. He primarily uses Dr. Ajax.
Nonetheless, she does recall, over the years, that there have been times that patients have
said that Dr. Schneider had not done the right surgery on them, and they had decided to
go to Dr. Goodman. These patients did not mention Dr. Biles, specifically, but she
assumed that he was involved. Dr. Schmidt saw a number of patients going to Dr.
Goodman vs. Dr. Schneider.




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                            Phone call with Caety Schmidt
                                   March 3, 2012

Context: Caety called me to discuss Dr. B’s harassment of Patti Smith and other
women, in general


Caety ran into Patti Smith in the grocery store and Patti told her some of the stories
about harassment by Dr. Biles. Caety noted Patti’s problems surrounding her
termination by Dr. B (after writing a letter of complaint to him) and, as a
consequence, her ensuing battle to qualify for unemployment.

Patti also told Caety about being terminated from her most recent job at Mountain
High Health Foods, one day after Rachel Biles came into the business. Patti had
previously asked Marty Clark if she would be fired if Rachel told Marty about the
past situations, and Marty assured her that she would not be fired. The day after
Rachel came into the store, Marty told Patti that her accountant had advised her that
they couldn’t afford Patti, and Patti was terminated.

Patti also told Caety about an incident when she still worked as a transcriptionist for
Dr. B. Dr. B called Patti on her cell phone when she was a lunch with a friend and
asked her, “Where the f*?! are you?” He was looking for some transcription that she
had already done. When she returned to the office, he acted like he had only been
kidding.

Patti told Caety about the incident when Dr. B mocked Patti for her eating disorder,
asking her if she was going to go make herself throw up after eating something.

Caety called me because she is tired of Dr. B harassing women. She thinks Dr. B is a
bully and doesn’t treat people well, especially women. She thinks he has a “thing”
against women in a powerful position. Caety is going to talk to her sister, an
attorney in Texas, about the situation.

Caety mentioned Sandra Whalen at the surgery center, and thinks that Sandra
would be able to make a comment about his harassment. I told Caety that Sandra
has declined to talk to me.

Caety noted that Dr. B doesn’t have as much money as people may think, but
everyone fears being sued by him.




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                            Interview with Dr. Frank Schmidt
                                   December 23, 2011


Location: Dr. Schmidt’s conference room

Time:   Scheduled 12:00


General:

Dr. Schmidt (“Dr. S”) noted that Dr. Biles (“Dr. B”) has been involved in many lawsuits
over the years. He even sued his mother. Dr. B involved Dr. S and Dr. Emery (“Dr. E”)
in a sexual harassment lawsuit, which resulted in them paying a settlement of
approximately $30,000. Dr. B made lewd comments to Pamela Pendray, who was a
billing employee at the time. Sue can provide me with the dates.

Dr. S noted that, when they were still together in Big Horn Basin Ortho. Clinic, Dr. B
ultimately stopped coming to meetings and sent threatening letters to Dr. S and Dr. E
(See Dr. E’s testimony and get copy of letter.) During their last few years together, Barb
Carlson, office manager, would solicit votes from each of them separately, rather than
casting votes at a meeting. Dr. S believed that Dr. B. thought they were ganging up on
him.

Dr. S. also recounted the lawsuit involving the land they purchased for their current
building, which resulting in being sued by Musser.

Drinking Issues:

Dr. S indicated that Dr. B would bring Crown and Cokes to their business meetings. He
suggested we talk to the former owners of the Downtowner, who would provide Mrs. B.
with mixed drinks at the drive-through window each day. These drinks were brought to
the office after hours when no patients were present. Barb Carlson was the office
manager at the time. She has since moved away.

Jeff Lapp (currently scrub tech in Worland) went to clinics with Dr. B. He drove his own
car due to Dr. B’s drinking. Dr. S recalls that Dr. B “bad-mouthed” Jeff after he left,
which was a common practice after employees left, whether fired or resigned.

Dr. S. strongly recommended that we interview Dr. B’s past PAs, most notably, Scott
Wilson. Apparently, Scott turned Dr. B in to the Wyoming Board of Medicine, after
witnessing Dr. B operating on a patient while under the influence of alcohol. Dr. S feels
that WPH would deny this. I asked if there was anything in writing or a formal complaint
made to the hospital, but Dr. S believes that the complaint was only made verbally to the
Board. Dr. S also suggested we talk to another P.A. that worked with Scott. He can’t
remember the name, but recalls that he later went into the Army.




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Dr. S recalls that Dr. B had 2 car accidents that he “walked away from.” After one of
them, his son and then-girlfriend, Destiny ?? picked him up. Destiny currently works for
the surgical center and is no longer the girlfriend of Dr. B’s son.

Dr. S does not recall any meetings at the hospital that addressed the DUI incident. (He is
not on the med exec. Committee.) He felt that the hospital should have investigated it
more thoroughly. Dr. S told a board member that they should be worried about the
existence of a mug shot and the fact that the incident happened.

Dr. S felt that most of his patients were sympathetic towards Dr. B after the flier came
out. They didn’t like the flier and thought it was unfair to Dr. B.

Dr. S said that if I provided him with the date of the DUI, he could look back and see
who was on call for the hospital.

Another former PA, Harley ??, who is a current PA of Dr. Schneider, may have also
called the Board of Medicine about his observations of Dr. B drinking.

Years ago, Dr. B rode his motorcycle out to Dr. S’s ranch. Dr. B turned it over with Dr.
Catie S on the back (while pregnant).

Dr. S will try to come up with names of transcriptionists that may have noted problems
with dictation. (Linda??? – ask Sue)

Dr. S also mentioned a former long-time employee named Luanne (ask Sue). She often
travelled to clinics with Dr. B and may have helpful information.

Around 4 years ago, Dr. S heard a story that Dr. B screamed at a third floor nurse and she
smelled alcohol on his breath. (Check with former PAs)

A retired highway patrolman, Byron Donahue, always wanted to catch Dr. B drinking
and driving. BD now lives in Montana.

Mrs. Biles:

Dr. S indicated that Mrs. B practiced medicine but he believes she may have some
training as a lab tech (?) She would see patients in Dr. B’s office and order tests in his
name. The tests were done and the patient was sent off without ever seeing Dr. B.

In the past (WPH put a stop to this), Mrs. B would go to the ER on weekends and get the
names of the patients that were in the hospital. She would then refer the ones with good
insurance to Dr. B. Dr. S felt that the ER clerks were intimidated by her. Dr. S and E
told the hospital and this was later stopped.




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On another occasion, Dr. Biles talked Sandy Jones into suing Dr. Schneider. Sandy was
previously Dr. Schneider’s receptionist. Her daughter Tammy worked for Dr. B. When
she fell and broke her back and went to the ER. Dr. B, Mrs. B and Tammy were there
giving directions to send her to Billings. (I’m unclear as to how this relates to Dr.
Schneider – supposedly he didn’t do a surgery properly?)

Gun incident:

Sue can provide us with a copy of the letter from Barb Kessler’s attorney. (As also
provided by Dr. E), the issue went to the board of CMAC but Dr. B didn’t attend the
meeting in person. He called in on speaker phone from his attorney’s office.

Other:

Dr. S feels that Dr. B has undermined Dr. E’s practice consistently. There was,
apparently, some voice mail from Dr. B that indicated that he would run Dr. E out of
town like he did an anesthesiologist. Dr. B has said things against both Dr. E and Dr.
Schnieder, intended to harm their practices.

The quarrel with Dr. Schneider started (from Dr. S’s recollection) when Dr. Schneider
took out a loan from Wells Fargo (Glenn Ross – VP) to help Dr. B with his ranch. Dr. S
was suspicious that it was in exchange for referrals. Dr. S noted that Dr Schneider has
operated on Mrs. B, so apparently Dr. B trusted him at that time. Dr. B wanted to be
named as co-surgeon on cases that he sent to Schneider, but Dr. B is not spine-certified.
After that didn’t work out, he wanted the assistant fees, so he would send a PA to scrub in
with Dr. Schneider on a case. The PA would only stay for a short time, then leave Dr.
Schneider without an assistant, but long enough for Dr. B to get the fees.

Dr. S says he knows of several patients who have been turned away from Dr. Schneider
by Dr. B. saying they have “been warned” about him.

Dr. S feels that Dr. B’s word is worth nothing. He says one thing, then changes his mind.
“He’s a good doctor but a bad person.”

Dr. S noted that, since Dr. B threatens many people with lawsuits, some of the surg.
Techs and PAs may be reluctant to talk.

Dr. S mentioned more than once that Dr. E has a file with useful info in it.




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                          Follow-up interview with Dr. Schmidt
                                   January 30, 2012


Dr. Schmidt talked a little about whether or not Dr. B was on call the night of the DUI.
He suspected that he was not, but reminded me that Dr. B is the one that started the “call
crisis” when he refused to come in on call. Other doctors followed suit and also refused.
In addition, Dr. B is always on call for his patients. He does not have backup like the
other orthopods do. I later checked the call schedule with Sue Gibbons and Dr. Emery
was scheduled the night of the DUI, but she thinks Dr. Winzenreid took call, because it
appears that they switched weekends.

Dr. Schmidt talked in more detail about the Sandy Jones incident. At the time of the ER
incident, Sandy still worked for Dr. Schmidt. On the Wednesday night before she went
to the ER, Dr. Schmidt went to her home to visit her. She had just had back surgery and
seemed to be healing well. He doesn’t think she was wearing a brace. She did not
mention any problems with Dr. Schneider at the time. Her daughter, Tammie (employee
of Dr. Biles), and husband were at the house as well. Approximately 36 hours later,
Sandy was admitted to the ER. Dr. Peters was the doctor on duty. Dr. Schmidt saw here
there and he said it was clear that Tammie and Rachel Biles were “running the show.”
They said they were taking her to Billings because Dr. Schneider won’t take care of her.
Dr. Schmidt thought Dr. Peters seemed overwhelmed with the situation. (Dr. Schmidt
thinks that Dr. Peters will be non-committal if asked.) They wouldn’t let Dr. Peters call
Dr. Schneider or allow him to take care of her. Dr. Schmidt said that Sandy didn’t say
anything, and the situation was strange and uncomfortable. He felt that it was evident
that the situation was being run by Rachel and Tammie. Someone made a call to St.
Vincent’s in Billings to arrange for Sandy’s care. Dr. Schmidt doesn’t know if Dr. Peters
made the call, and if he did, who directed him to – Sandy or the other two? If Dr. B made
the call, that would be very strange since she was not under his care. Dr. Schmidt felt
that Rachel and Tammie were surprised and chagrined to see him there. He didn’t even
know why she was there since he had just done a house visit and all appeared to be going
well. He thinks they orchestrated the situation to get her under another doctor’s care to
make it appear that Dr. Schneider had done something wrong. Dr. Schmidt also knew that
Dr. Schneider had gone out of his way to work her into his schedule and take care of her
in the first place.

Dr. Schmidt thinks that the war started because of shrinking financial benefit to Dr. Biles.
For a time, Dr. Biles was allowed to be a co-surgeon with Dr. Schneider. Neurosurgeons
are paid more for the same procedures that are performed by orthopedists. By
participating as co-surgeon, he received one-half of the surgical fee. At some point, Dr.
Biles was turned down to be co-surgeon so he started sending a PA to assist and was able
to get the assist fee. Frank heard rumors that the PAs sometimes didn’t stay for the whole
case. Dr. Schmidt thinks Dr. B was continually looking for a way to get money from the
system, and was only sending referrals because of the financial incentive.




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Dr. Schmidt thinks that Dr. B would go to extremes to be devious. He also commented
that Dr. B is very cunning.

Dr. Schmidt mentioned talking to Dusty Hill about referrals sent to Dr. Schneider. Dr. B
told Dr. Hill that he wouldn’t let Dr. Emery operate on a dog.

Dr. Schmidt noted that Dr. B spreads a lot of money around. He said he wouldn’t be
surprised if Dr. B had given Crystal some money before she left.

Dr. Schmidt spoke a little about Dr. B’s unethical business practices. He noted that Dr.
Emery would know more about that. In addition to Rachel’s presence at the ER, and the
MRI “books”, he indicated that Dr. B would overstate the severity of everything to make
him look like a hero. Dr. Schmidt thinks Dr. B is behind “stuff” but he can’t prove it.

Dr. Schmidt suggested getting the records of patients by zip code at the surgical center.
He indicated that, at one time, Dr. Schneider had patients from all over Wyoming. Much
of that went away as Dr. B quit referring patients to Dr. Schneider.

I asked Dr. Schmidt if Dr. B had ever asked him to write a prescription for him. He said,
yes, because they all knew Dr. B had a bad ankle that caused him a lot of pain. He felt
like the pain medication was legitimate. Dr. Schmidt never thought that Dr. B was on
drugs, just alcohol. He pointed out that Dr. B was the type that you would not know had
been drinking, even after 3-4 drinks.

When asked about the hospital’s reaction to the flier, Dr. Schmidt commented that Dr. B
makes a lot of money for the hospital. The medical staff was very upset about the flier,
and he estimated 99% of the physicians knew they “hated” each other and had gone to
war. He felt that most of the medical staff thought Dr. Schneider was behind the flier,
and was fighting back after seeing his practice sabotaged.




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                            Interview with Colette Schwindt
                                    January 11, 2012



Drinking:
Colette was aware of the drinking because his PAs (John Vipperman, Brad Coughlin, and
Scott Wilson) complained about it. She said that they talked about Dr. B’s drinking and
driving in the offices of the surgical center. She also stated that former PA, Jason Lawn,
had issues with Dr. B’s drinking when he was trying to leave the practice. Jason now
lives in Montana. She said that Jason had told her that when they left clinic, Dr. B would
pull over and get a drink.

Colette is not aware of anyone making a complaint to the State Board. She said that Dr.
Schmidt and Dr. Emery had expressed their opinion that he should be reported, but she
never heard of anyone actually filing a complaint.

Colette gave me the names of the following hospital employees:
Lily Enist, RN (nurse supervisor in OR)
Joann Atkins (head nurse)
Rajan ??
Fran Gunia (worked at both hospital and surg. Center)

Colette had heard a rumor (from Dr. Emery?) that Dr. B had run his car off the road and
walked home (and gotten the car the next day).

Crystal had no knowledge of Dr. B drinking while seeing patients.
Colette pointed out that Crystal Shearer is FB friends with Tammie Jones. (Her name is
now Crystal Kriens-McDermott.) Colette thinks that Dr. B cosigned a loan for Crystal
when she was about to lose her house. She thought I might ask Crystal about the
drinking in the office on evenings and weekends. Colette recalls an incident where the
police were called to the building in the evening because the building alarm went off.
Crystal and Rachel Biles were supposedly sitting in the car, intoxicated. This was around
2004 or 2005. The police found them in the car, but no citations were made. Colette
heard rumors that Crystal had an affair with Dr. B. Colette also recalls that, on one
occasion, Crystal brought “chew” to the surgical center to be delivered to Dr. B while in
surgery. Colette delivered the bag to the surgical suite.

Colette recalls having breakfast at Granny’s and looking across the street to see Dr. B
driving through the liquor store to get drinks in cups. This was late morning. She gave
me the names of a couple of former employees: Wendy Cortez (now at Wapiti RE and
Brewguard’s) and Julie Hammond (now at First Bank). She heard that he got a liquor bill
each month from the Downtowner.




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Colette gave me the name of Samantha (Sam) Cauffman Kemper who lives in Burlington
and used to work at the Burlington Bar. She also works for the surgical center in
Burlington.

In reference to the on-call schedule at the hospital, Colette belives that the Chief of Staff
is in charge of that (Kirk Bollinger for 2010)

Relationship with other physicians
Colette suggested I talk to Dr. Warren Birch, who did back surgeries at the surgical
center. She feels like Dr. B (and some other physicians – Katie Schmidt, Bo Johnson, Dr.
Welch) railroaded him out of the surgical center, accusing him of taking drugs. The fact
was that Dr. Birch had cancer, which he was keeping quiet. Dr. B and the others had a
plane waiting for him at one point to take him to Casper for drug testing. He ultimately
went to Casper on his own and had the tests performed, all with negative results. Dr.
Birch is now in Casper. 307-259-1123.

Harry Cohen was an anesthesiologist at the surgery center. He is now in Arizona. I had
heard that Dr. Cohen was possibly run out of town by Dr. Biles. Colette had only heard
that he left because he didn’t want to take night calls anymore.

Colette thought that Dr. Jeff Hansen (hand specialist) was run out of the surgical center
by Dr. B. He is now in Powell. She heard he left because of competition with Dr. B.

Employees:
Colette had no specifics on how Dr. B treated his employees, other than hearing that he
would berate them and make their days difficult.

Colette thought it might be helpful to talk to Jessie Graham, a former x-ray tech who was
fired just before her scheduled surgery. Jessie is Nena Graham-Burke’s granddaughter.
(Colette was suspicious that Jessie had an affair with Dr. B, based on comments Jessie
made at a bar one night after drinking.)

I asked Colette if she knew Destiny Leonard at the surgery center. She said Destiny
would likely not talk to me, and used to be friends with her daughter-in-law. She heard
that Destiny had dated Trey (Dr. B’s son).

Colette gave me the name of Jody Glover (254-1020) who is now at the Billings Clinic.
Jody scheduled for Dr. B and worked the front desk. Colette says that Dr. B treated Jody
“like nothing”.

In 2011, an anonymous complaint was turned into the State Board of Medicine accusing
Colette of sharing drugs with her sons and that Dr. B was providing the drugs. She was
investigated, and it was determined that all medications were prescribed by Dr. Gee.
This happened soon after the flyer came out. She thinks that, possibly, Patti Smith was to
blame. (Patti was a transcriptionist that had been fired in October of 2011.) Colette felt
Patti was vindictive enough to do it because Colette took Patti’s bowling spot.




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Mrs. Biles:
Colette did not think that Mrs. B had a formal role at the office but was there regularly.

Other:
Colette suggested I talk to Tammy Scott, who used to work with Dr. B at the surgery
center as a surgical tech. Colette recalls that Tammy left because of a disagreement with
the nurse who ran the surgical center at the time.

She also gave me the name of Shauna Migneault (250-5188), an OR tech that had used to
work for the surgical center during the last 4 years. She now lives near Lovell.

Bill Stangl is the former administrator of the surgical center and is now in Casper at the
same surgery center as Dr. Birch.

Colette is worried some about retaliation.




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                              Interview with Tammy Scott
                                    January 17, 2012

Context: Tammy was a surgery tech at the surgical center for 3 years (when it first
opened approx. 10 years ago) and was a tech at WPH briefly before that.


According to Tammy, “everyone” knew that Dr. B was drinking after hours and were
suspicious that he was drinking during the day, as well. He often went out to his truck in
between cases, and they were suspicious that he might have alcohol there. He always
smelled strongly of “chew” or cologne, so she never detected the smell of alcohol on him.

Tammy said that Dr. B was a very moody man. You never knew which Dr. B would
walk in the door. Some days he came to work with bloodshot eyes. She also pointed out
that he was often very passive-aggressive. If he had a problem with someone, he would
avoid confrontation one-on-one. He might leave the room and then call back in to that
same room to talk to someone. On the other hand, he was not afraid of berating someone
in front of others. On one occasion, Tammy told him to quit and he backed down. She
noted that everyone was glad when he was done for the day.

Dr. B’s PAs, Darrin McCann (in particular) and Brad Coughlin, would frequently tell
stories of his drinking on rides home from the clinic.

Tammy pointed out that Dr. B was a great surgeon and his patients had successful
outcomes. He was always very concerned about his patients and took caring for them
very seriously. She felt like his patients either loved him or hated him. The ones who
loved him were often workers comp cases. She’d heard that Dr. B was generous with
prescribing narcotics. The patients who didn’t like him where those who rarely saw Dr.
B and were relegated to a PA for everything other than surgery. Tammy felt like Dr B
was not well respected by his peers or those in the surgical surrounding.

When asked why, if “everyone” knew of his drinking problems, no one reported him,
Tammy pointed out that it would be hard to prove. There was no smoking gun – no one
saw him “smashed”. No one wanted to cross Dr. B. Everyone also knew that he was
“sue crazy”. They couldn’t prove it so no one wanted to accuse him.

Tammy felt like she noticed the drinking more at the surgical center than when she was at
the hospital. She didn’t know if it got worse, or if she just noticed it more. (She was
only at the hospital about 9 months.)

Tammy’s husband, Kurt, works (or worked) at a hardware store. She remembers Kurt
coming home telling her that one of Dr. B’s ranch hands came in to get supplies to repair
something on the ranch (fencing, etc.) that Dr. B had wrecked when driving. (I asked,
but Kurt doesn’t remember the names of the ranch hands.)




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Colette told Tammy about a PA (later determined to be Jason Lawn) who tried to quit,
but Dr. B was giving him a hard time. He threatened to expose Dr. B’s drinking if Dr. B
wouldn’t let him out of his contract. (I later confirmed this conversation with Colette.
She indicated that Jason told her on more than one occasion about Dr. B’s drinking and
that he threatened to expose it.) Tammy heard that Dr. B may have gone to rehab around
this time (around 2008) and guessed that it was triggered by the situation with Jason.

Tammy is friends with Chad McKinney, the arresting officer on the night of the DUI.
She is also friends with some of the employees at the jail because she worked there for a
time. According to her sources there, on the night of the arrest, Dr B’s truck was simply
stopped in his lane. He was passed out at the wheel and the truck had just rolled to a
stop. Tammy suggested talking to the jailers to get an understanding of Dr. B’s
demeanor that night (Neal Corr, for instance), in addition to reviewing the booking
paperwork. She also suggested talking to the lieutenant, Todd Larson.

Tammy mentioned a former surgery tech named Roxanne Paugels, who is now a RN in
Lovell. She noted that Roxanne did not like Dr. B and might be willing to talk to me.

Tammy also mentioned I might talk to Christine Hickman, the original director of the
surgical center. She may not want to talk to me, and was involved in the Dr. Birch issue.

Tammy mentioned Dr. Warren Birch, who was railroaded out of the surgery center and
was accused of stealing and using drugs.

Tammy also heard rumors of affair(s).




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                                            Patti Smith
                                         January 13, 2012


Patti was a transcriptionist for Dr. B from 10/2006 – 10/2011. She was fired by Dr. B and is
trying to sue him for her unemployment.

She called me on 1/9 to cancel our meeting scheduled for 1/13. She didn’t want him any madder
at her. She said that he’s a jerk.

I told her I wanted to talk to her about her knowledge of his drinking and his reputation and her
response was “Ha! -- he doesn’t have a reputation.” She then agreed to talk to me about his
drinking and said she could give me names. She has a friend who is a massage therapist, whose
husband is an EMT. Patti reports that the husband saw Dr. B show up at the ER, drunk, and
Scott Polley pulled him aside and told him to go home and Dr. Schmidt would cover his call.
Scott told him that he couldn’t operate on patients in that condition.

Patti also mentioned that there are 15 suits involving Dr. B in the district court at the courthouse.
One big one (1994-1998) is the sexual harassment suit involving P. Pendray.

January 13 meeting:

Patti informed me of names of other employees during her time at Dr. Biles:
Sandra Nayoks (still there) - front desk
Crystal Shearer (now Kriens-McDermott) – scheduler moved to Seattle
Deb Unrine – office manager
Holly Miranda – office help; moved to No. Dakota
Nicole Roberts – Scheduler after Crystal; moved to Jackson
Jenny Mitchell (still there)
Shannon Mezo – front desk (glad to leave; now in WA)

Another employee named Shannon was fired at the front door after only a few weeks of work.
According to Patti, they didn’t let her get her personal items and threw away some of her things.

Patti requested a vacation in October. Patti provided me with the vacation request where Dr. B
wrote the comment “dirt bag” next to her name. Prior to taking the vacation, Patti wrote a letter
to Dr. B indicating her unhappiness in the workplace and that she considered resigning but,
instead, would take a week off. (Patti has written numerous letters of complaint to Dr. B over
the years.) When Patti left, she took some of her personal possessions with her. Upon her
return, she received a phone call that her resignation was accepted. According to Patti, she did
not resign. Patti has filed for unemployment and the state ruled in her favor. Dr. B is appealing
this decision. Patti provided me with a great deal of information that she is using in her
unemployment battle. I will include only the discussion pertinent to this case.

Patti also provided me with a No Trespass notification that was filed against her after her
termination, stating that she can’t be on the premises.




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In general, Patti noted that the office was poorly managed and inefficient. Employees ate in
front of patients, watched TV and, apparently, gossiped and bickered frequently.

I asked Patti if she ever thought that Dr. B dictated while drinking. She did not suspect that he
was under the influence, but did note that his dictation was occasionally not clear or consistent –
as if he was distracted. Patti also noted that she has typed many “nasty” letters from Dr. B.
Some, he would later decide not to send.

Patti did not think that the flyer hurt Dr. B’s practice because she was the one who wrote thank
you notes to all who wrote letters in his defense. She estimates that she wrote 50 – 60 thank you
notes.

Patti again mentioned her friend, Laura Campbell, and her husband, Josh (EMT) who had
witnessed two separate events in the ER. On one occasion, Laura was in the ER with her son
when Dr. Biles came in. She heard the ER doc (not sure who) pull Dr. B aside and tell him that
he had alcohol on his breath. He then sent Dr. B home. On another occasion, Josh was in the
ER when Dr. B was called in. Dr. Scott Polley pulled Dr. B aside into another room and told
him, “You’ve been drinking and can’t do surgery. Go home and we’ll get Dr. Schmidt to cover
for you.”

Marilyn Spicer (at Sister Joanna Bruner clinic) has filled in for transcription over the years.
Marilyn told Patti that he drank Crown and Coke with her after work.

Patti is aware of one accident that Dr. B had on his way home up the SF. He missed a curve and
hit some trees which he later had to replace. He allegedly wrecked his pickup because of slick
roads. Cody Paint and Body does his repair work.

Other docs:
Patti felt that he “smeared” Dr. Schneider. Apparently, Tammie Jones’ mother (Sandra) had
surgery that was performed by Dr. Schneider. She later had an infection and Dr. B blamed Dr. S
and told her that he wouldn’t refer anyone to Dr. S.

Other:
Patti has recovered from an eating disorder. On one occasion, after Dr. B saw Patti eating, he
told her “Don’t go throw that up, now.”

Patti mentioned that I might want to talk to Wes Wilson (307-548-6559). He owns Wilson
Brothers Construction in Cowley. Wes was business partners at the Burlington ranch with Dr. B
until it “turned ugly”. (Patti knows this from her transcription of a letter to an attorney.)
Patti called me later on January 13 to let me know that, about a month ago, Dr. B’s ranch
manager in Burlington quit. She thought his first name was Marcos, last name unsure, maybe
Gonzales. He is now working for a ranch up the SouthFork.




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                             Interview with Scott Wilson, PA
                                     January 4, 2012

2:00, Conference room of office

Scott was Dr. Biles’ PA from June 2004 – September 2006.

Scott was reluctant to share information that did not pertain to Dr. B’s drinking. He
wanted us to know that he has more info., but does not feel that it’s relevant at this time.
He noted that, at some point, he may need to be compensated for his time, but he would
be willing to talk again in the future.

Complaint with State Board of Medicine:
I asked Scott about the reports of him filing a complaint with the Wyoming Board of
Medicine. He said that, on his last day of work (around mid-Sept, 2006), he was
contacted by the then-director of the State Board (Carol?). She asked him questions
about the volume of turnover of PAs. (At one time, the count was over 70 employees.)
She asked if there were things she should be concerned about, since Dr. B “goes through
a lot of PAs.” He told her it was an unsafe environment. Per Scott, Brad Coughlin, PA,
could also say some things regarding similar concerns. (Brad quit in Sept, 2005 after a
couple of years of employment). Scott was frustrated that the State called him in the first
place. He told her that it was not a good day to talk (his last day at work) but she never
called back.

At one time, Dr. Schmidt came to Scott to ask him to talk to the state about Dr. B’s
drinking. Scott did not call the state.

Drinking:
Scott referred me to Debbie Nilson who told him that on 8/16/06 Dr. B consumed several
glasses of Crown and Coke on the way back from the Greybull clinic. They would stop
at Curtin’s Liquor Store in Thermop to get a fresh bottle of Crown Royal.

Dr. B drank with Scott in the car frequently. Scott didn’t insist on driving because he felt
it wasn’t an option and Dr. B was easier to get along with when drinking. Scott indicated
that Dr. B made medical decisions (charts and calling patients) after getting back from
clinic and drinking.

Dr. B’s former secretary, Crystal Shearer (now McDermott), would go to the liquor store
(Downtowner) and bring back alcohol for him to drink while going through charts.
Again, Scott stressed that, though he wasn’t seeing patients after drinking, he was making
medical decisions. Scott cannot confirm that he operated under the influence but was
suspicious. He cannot confirm that Dr. B drank during the work day. He also said that
he thought the transcription looked OK.

Scott left because he couldn’t take the drinking anymore. He told Dr. B this when he quit
an Dr. B remarked that no one had ever told him the truth before.




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An OR nurse at the hospital, Alecia Kozisek, came to Scott with concerns about the
drinking. She wanted Scott to do something or she would go to her supervisor. Scott
says he never smelled anything on Dr. B’s breath other than Copenhagen. Scott
suggested I talk to Dr. Ted Ajax (anesthesiologist) and other nurses about this.


Other:
Scott said that Crystal told him that Dr. B would write a prescription for a controlled
substance for her; then she would fill it and bring it to him. Crystal has since moved
away. Scott indicated that she would not be vindictive if I talked to her. He was curious
if other doctors have been asked to write prescriptions for Dr. B.

Dr. B showed Scott how to do “legal” things that he refused to share with me. He said he
won’t share them yet because they don’t pertain to alcohol. (follow up? Not sure what
he was referring to here…)

In August, 2006, Scott had a deposition with Emily Rankin. (Won’t share why.) One
hour prior to the deposition, Dr. B offered Scott a Xanax. Scott took it and flushed it
down the drain. Dr. B said he takes a Xanax before every deposition because it helps
calm him down. Scott was not sure where the prescription came from.

Scott noted that Dr. B did some surgery on his daughter, Summer, for some sort of skin
wound. He saw her in the summer of 2006. Scott received a note from Mrs. B
requesting that Scott provide the dictation for the procedure in his name for their
insurance. Scott refused to falsify the records and does not know who ultimately
performed the dictation. He suggested that we subpoena the chart.

Scott also noted that Dr. B spent a lot of time reviewing and correcting charts. If a
patient was going to another doctor, he would spend hours going through the charts,
making sure everything was OK.

Scott mentioned that there were numerous lawsuits during the time of his employment,
and that Dr. B must enjoy conflict. He cited one suit related to a car, and another related
to dogs. He said that Dr. B was “very vindictive.”

When Jessie Graham (an x-ray tech) left, Dr. B instructed Scott not to give any
references. If he had, Scott thinks that Dr. B would have yelled at him about it. Dr. B
never called Scott names because Dr. B knew not to push Scott. He felt like Dr. B would
back down when they were alone.

Regarding Dr. B’s character and reputation in the community, Scott indicated that Dr. B
is known for not paying his bills. Denny at Denny’s Guns and Maps told Scott that Dr. B
didn’t pay for his guns in a timely manner.




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Scott noted that few of the other PAs that left wanted to stay in the community, but Scott
wanted to stay here.

Relationship with employees:
Scott said he didn’t want to get “crossways” with Dr. B. He felt threatened by Dr. B. In
one instance, Scott’s wife asked Crystal to a church function, which precluded her from
being at Dr. B’s “beck and call”. Dr. B was furious at Scott when he tried to reach
Crystal and threatened to fire him if he tampered with Dr. B’s employees and made them
unavailable. Dr. B. often called Scott at home at night to discuss work. Scott felt
threatened with his job if he didn’t respond. He stuck with it because it paid well. Scott
did point out that he never saw him make a decision that was hurtful or detrimental to a
patient and that he was a good surgeon.

Scott said “we were all deathly afraid of Jimmie.” Scott had nightmares about Dr. B.
(This part of the discussion was very upsetting to Scott.) Dr. B never threatened or
harmed him physically, but Scott stood up to Dr. B for his sake and others that were
bullied by Dr. B.

Scott never saw Dr. B threaten anyone else, but Dr. B would berate employees in front of
other people and drill them with questions.

Scott witnessed verbal abuse to other employees, such as Dr. Biles going into the break
room at the surgical center and called a group of women “douche bags”. Scott reported
that Dr. B called employees derogatory names “all the time.”

Dr. Schneider:
When asked if he had anything to comment, Scott said he wasn’t going to say a word
about Dr. Schneider.

Mrs. Biles
Scott confirmed that Mrs. B saw patients. She took stiches out, changed dressings,
scheduled surgeries. She filled in for the nurse position while they were constantly trying
to fill it. Scott remembers 6 different nurses (only one at a time).




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                             Follow up interview with Scott Wilson
                                       January 31, 2012


Scott indicated that Dr. B was telling everyone about Dr. Schneider losing his license.

We revisited the conversation Scott had with Crystal when she told him about the prescriptions.
He thinks it came up in conversation when they were talking about Dr. B’s drinking. She was
very matter-of-fact about it and made it sound like there had been a large amount of medication
prescribed. He thinks the scripts were called into WalMart, possibly? Scott confirmed that
Crystal brought drinks after work and stayed until 10 or 11 p.m. with Dr. B as he reviewed
charts. Scott knew that he could only consult with Dr. B until his eyes went red – after that, Dr.
B would not remember what they had discussed.

Scott talked to two other physicians that were also approached by Dr. B to fill prescriptions on
his behalf. He knows at least one of them refused, but does not know about the other.

When asked about some of the other practices, Scott indicated that it was not a safe place for a
PA to work. He did not feel he was properly supervised. Rachel would often sign off on his
notes, although Dr. B would later drill him on information in the medical records. (Scott has
names and copies of some of the chart notes.)

Scott did not think there would be much evidence for M/C or M/A fraud, but thought that Dr. B
would use all means possible to funnel patients to the surgical center rather than the hospital. He
felt like Dr. B ordered an abundance of tests to protect himself. He was so worried about a
person having a problem that he didn’t follow current protocol. He routinely ordered tests on the
edge of appropriateness, for the purpose of being defensible.

Harley Morrell left in February 2006 to work with Dr. Schneider. Harley would rile him (Dr. B)
up regularly. Scott was the only PA until he left in September. Around August 2006, Dr. B
blew up at Scott. Scott feels that Dr. B was pushing him out. He knew that Dr. B would bill
other PAs for personal phone calls so he was very careful when looking for another job. He gave
Dr. B a month’s notice. Dr. B gave him the gun that he used in the “gun incident” with Barb
Kessler.

Regarding other employees, Brad Coughlin worked with Scott and left in 2005. Scott heard that
Dr. B wouldn’t let John Vipperman go to the hospital when his wife was in labor. Dr. B called
Debbie Nilson names. Scott thinks that Kevin Bell (who worked after Scott) worked for Dr. B
when it was rumored that he “cleaned up”.

Nate Vance worked for Dr. B at his ranch in Burlington. Scott heard that Dr. B was “mean” to
him.

Cheryl Lee runs Gosttche Rehab. In 2005, someone in her family had surgery performed by Dr.
B. She thinks she saw Dr. B go to his truck and drink something after the surgery.

Scott thought Dr. B was inebriated during surgery, but does now know what he would be like
under the influence of hydrocodone, etc. Scott thinks his surgeries were getting sloppy.




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                                Phone call with Scott Wilson
                                     February 8, 2012


I called Scott to talk about Rachel Biles’ role in the office as well as related billing issues.

Scott noted that Rachel performed tasks like taking stiches out, but did not cast any
patients, that he knew of. He felt that most of what she did was not illegal, but not
necessarily billable, since it often fell under a global post-op fee. He couldn’t think of
anything that she did that she would have billed for. I asked if she saw patients by
herself, when no one else saw them (e.g. for an office visit). He thinks she did see
patients by herself, but has no idea how or if the patient was billed.

Scott did confirm that she reviewed charts. The supervising physician should be
reviewing charts and signing off on them, but Scott saw her sign charts with Dr. B’s
“squiggle” that represented his initials. Scott does not have copies of these charts, but
does have a list of the names of patients whose charts she signed off.

Scott feels like pursuing this issue is petty and menial and a waste of time. He also said
that he’s starting to get exhausted with this process.




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                            Phone interview with Steve Zirker
                                    January 24, 2012

Context: Steve was a PA for Dr. Biles for approximately 3 months, in either 2008 or
2009.


Steve worked for Dr. B for a short amount of time because Dr. B was “very abusive”. He
was verbally abusive and physically abusive in exam rooms. The physical abuse was not
to a person, but he would throw medical equipment in a temper tantrum. This was
usually done in the OR or anesthesia room with the patient present, but unconscious.
Steve also indicated that he saw this at the surgery center, in Dr. B’s surgical suite where
he did the small scope surgeries. Steve also saw him throw a fit in the ED if equipment
or tools were not cleaned right. Steve saw him swear and toss something that hit the
wall.

Steve never saw Dr. B drink on the job or in the car. He only saw him drink while not at
clinic, on social occasions. Steve traveled with Dr. B occasionally to Thermopolis, but
never saw any drinking on those trips.

A couple of nurses told Steve that Dr. B drank and he had heard from other people that
Dr. B was a “heavy drinker.” Crystal told Steve that Dr. B was a drinker. Additionally, a
prior PA (can’t remember name) that he met briefly warned him that Dr. B was a heavy
drinker. Steve reiterated that he never saw him drunk. He thinks Kevin Bell told him
that he had seen Dr. B drinking or told him about after hours drinking in the office.

Steve indicated that Dr. B was verbally abusive, but never threatened him physically.
Dr. B frequently berated Steve in front of others as well as when they were alone. Dr. B
might tell Steve that something was “garbage” or yell and call him a “stupid idiot”, etc.
Steve noted that the OR is a tough place, but he didn’t want to continue to work in that
environment.




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                                 Interview with John H Schneider MD
                                         January 20, 2012



         Dr. Schneider will be deposed as part of this litigation but his interview will be used as the basis
in both counterclaims as well as information otherwise for use by counsel and will be protected by
attorney-client privileged communication. Dr. Schneider states that his conflict with Dr. Biles arose from
several non-clinical issues that strained their relationship. Dr. Schneider notes that Dr. Biles referred
hundreds if not thousands of patients to Dr. Schneider beginning in 1997 when Dr. Schneider began
practice in the region. Dr. Schneider notes that even as late as either 2006 or 2007, Dr. Biles referred his
own wife to Dr. Schneider who performed a successful neck operation that cured Rachael from years of
headache and arm pain. Dr. Schneider noted that when he returned to the region from his
professorship at the University of Utah in 2005, it was at the encouragement of Dr. Biles and the other
orthopedic surgeons. Dr. Schneider notes that no other specialist would work with Dr. Biles due to his
combative and disruptive personality that overshadows his surgical skill. Dr. Biles is rumored to have
sued his own mother over a business dispute. Dr. Schneider notes that Dr. Schneider used Dr. Biles’
physician assistants Scott Wilson and Harley Morell from 2005 -2007 and Dr. Biles made hundreds of
thousands of dollars in fees paid to these assistants (paid to Dr. Biles’ practice, not the PA) during this
time frame. In mid-late 2007 Harley Morell quit working for Dr. Biles due to Dr. Biles abusive behavior
and reports by both Morell and Wilson that Dr. Biles was drinking heavily while in clinic and in between
surgeries. Mr. Morell had been Dr. Schneider’s primary assistant for almost a year and Dr. Schneider
hired Mr. Morell. Dr. Biles sent Dr. Schneider several scorching letters (but refused to ever talk to Dr.
Schneider in person) threatening all kinds of retaliation against Dr. Schneider for hiring the PA, even-
though he quit Dr. Biles and was not “stolen” by Dr. Schneider. At the same time, Dr. Biles demanded a
“fee splitting” arrangement with Dr. Schneider since Dr. Biles referred him so many surgeries. Dr.
Schneider refused, noting this was overt fraud, but that only infuriated Dr. Biles even more. Dr.
Schneider also refused to “invest $350,000 into Dr. Biles’ ranch” as there was no secure guarantee that
Dr. Schneider would get that money back and Dr. Schneider felt that Dr. Biles was trying to extort him
for referrals to Dr. Schneider. Lastly, Dr. Schneider was the Chief of Surgery and nursing called him one
night when Dr. Biles came to the operating room obviously impaired from alcohol and Dr. Schneider had
to prevent Dr. Biles from doing a non-emergent surgery. This was reported to the hospital
administration who asked Dr. Schneider to quietly handle this “off the record” and Dr. Schneider
counseled Dr. Biles at length, trying to avoid getting him in trouble with the licensing board. Dr.
Schneider is very angry at CEO Doug McMillan over how this and the reports of Dr. Biles drinking on the
job were swept under the rug.

         By 2008, Dr. Biles and Dr. Schneider were no longer speaking or had any kind of professional
courteous relationship. Dr. Biles’ overtly began telling patients that Dr. Schneider made mistakes with
their surgery and that they should complaint to the Wyoming board of medicine about Dr. Schneider
and file medical malpractice lawsuits against Dr. Schneider. At the same time the Billings neurosurgeon,
Dr. Goodman was trying to reestablish a practice in Big Horn County so Dr. Biles referred many of Dr.
Schneider’s post-operative patients to Dr. Goodman. Also, the Casper Neurosurgery group, Narotzky
and his partners were thrown out of the Casper hospital and they were looking to expand north for
patients. Dr. Biles would routinely send patient’s to Dr. Schneider’s competitors who would trigger
negative comments about Dr. Schneider and his practice. Dr. Schneider reports this is actually quite




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easy as 40% of spine patient’s undergoing surgery are not happy with their outcome and are sent to
chronic pain management. Dr. Schneider says this has nothing to do with malpractice and that spine
surgery is quite subjective, from the ultraconservative to the extremely aggressive. Dr. Schneider sees
himself at the “65 yard line” favoring surgery for structural disease. Dr. Schneider was also very
restrictive with pain medication so where his competitors had systems in place (pain management
clinics) where many of Dr. Goodman and Dr. Narotzky patients ended up, Dr. Schneider did not have this
resource. Dr. Schneider said he never had a medical board complaint before in any state and only a few
medical malpractice cases that were from complications, and not actual malpractice, but between 2009-
20012, a dozen medical board complaints were generated after patients saw Biles, Narotzky or
Goodman, filed in Wyoming, all from Big Horn County.

         Dr. Schneider noted that 75% of his practice actually comes from Montana patients traveling to
Wyoming, and none of them have filed complaints or malpractice lawsuits. Dr. Schneider admits this
drove him crazy at it progressively severely hurt his reputation, referrals from other doctors and was
one of the main reasons Dr. Schneider decided to invest and open a surgical center in Billings where
outpatient surgery could be performed and none of the physicians would have to participate in hospital
emergency call. A true boutique orthopedic and spine surgery center. Dr. Schneider noted that very
early on, Dr. Biles was considered as a partner and Dr. Schneider in 2009 approached Dr. Biles to try and
resolve their conflict and offer participation in the center to Dr. Biles, but none of the other orthopedic
surgeons would participate if Dr. Biles were to practice at the center. When Dr. Schneider began
advertising the center concept without Dr. Biles, Dr. Biles went “nuts” and even complained to the
Wyoming Board of Medicine that he was not included. Dr. Schneider met with the Wyoming Board in
2010 over 5 patients sent to them from Dr. Biles and Dr. Narotzky and the complaint from Dr. Biles was
discussed. Dr. Schneider said the medical board members laughed about that complaint. Dr. Schneider
indicated that Dr. Biles attack were also very personal. Dr. Biles and his wife were quoted as telling
vendors and patients that Dr. Schneider and his wife were having extra martial affairs, leaving town and
that Dr. Schneider’s children should be banned from sports at Cody high school, where Dr. Biles had a
role in the athletic and sports injury departments. Dr. Schneider admits that he became progressively
more angry and vengeful against Dr. Biles when none of the traditional methods of professional
intervention lead to any action. Dr. Schneider notes he complained to the Wyoming Medical Board
about Dr. Biles behavior against another licensed physician in 2008 which was never even investigated,
complained to American Association of orthopedic Surgeons, which said they do not get involved in local
disputes. Dr. Schneider complained to the Westpark Hospital administration on several occasions,
which was stonewalled and even hired a Cody attorney, Mr. Labazzo who approached hospital Counsel
Chris Edwards on Dr. Schneider’s behalf in early 2012. Ms. Edward told Mr. Labazzo there was nothing
she or her firm could do and it was a “hospital physician matter” and to take it up with administration.
Dr. Schneider thought that it was ludicrous and incestuous that Dr. Biles own attorney, Mr. Simpson and
hospital counsel Chris Edwards were part of the same firm and asked “how unethical can this Wyoming
mafia get?”

        Dr. Schneider said thing came to extreme when Dr. Schneider operated urgently on Sandra
Jones, Dr. Frank Schmidt’s office person, who had a complex spine issue. Dr. Schneider performed a
successful fixation for a thoracic fracture, and as expected, she was in severe pain and sick in the
hospital for a few weeks. At the same time her own mother died at the hospital so there was ‘significant
emotional issues to healing as well”. Regardless, after three weeks she was sent home, but became




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dehydrated and got a pneumonia. Ms. Jones daughter worked for Dr. Biles and she (Tammie) called Dr.
Biles to see Sandra at home. Dr. Biles was correct in that she needed to be re admitted to the hospital,
but when she got to the emergency room, Dr. Biles wife who was known to “practice medicine” in Dr.
Biles office, but has no medical training was there giving orders to the emergency room doctor to send
Sandra to Dr. Goodman. Dr. Schmidt even witnessed this. Dr. Schneider was never called. Dr.
Goodman went on to tell the patient her surgery was done “all wrong” and “all the screws were loose
and she didn’t fuse” (three weeks after Dr. Schneider’s surgery). Dr. Schneider complained to the
hospital about this and “the investigation’ just told Dr. Schneider “there is nothing we can do”. This
became a lawsuit against Dr. Schneider where a pattern was well established – Dr. Biles sends a patient
to either Dr. Goodman or Dr. Narotzky, they tell the patient the surgery was done wrong by Dr.
Schneider, they redo the surgery (and the patient is no better), they blame Dr. Schneider, the patient is
sent to one of two law firms in Billings and Dr. Narotzky testifies as the expert against Dr. Schneider. Dr.
Schneider said this has happened four times and anticipated more coming. Each time Dr. Schneider and
his defense counsel have obtained academic neurosurgeon in spine who have indicated Dr. Schneider
has done everything right, including in Sandra Jones, where a Harvard professor of neurosurgery told Dr.
Schneider to file a professional complaint with the Board of Neurosurgery against both Dr. Goodman
and Dr. Narotzky as he found both Goodman’s surgery and Narotzky testimony to be “outrageous”. Dr.
Schneider said the professional conduct committees won’t become involved while litigation is pending.
Dr. Schneider attended medical review panels at the state level on these cases and won verdicts in his
favor, but that did not stop the litigation.

        Dr. Schneider is well aware of the flyers and mailers about Dr. Biles after Dr. Biles was arrested
for a DUI. Dr. Schneider reiterated that he neither wrote nor hired anyone to write anything untruthful
about Dr. Biles. Dr. Schneider knows defendant Fallon as both a patient and close friend of his wife
Michelle. Dr. Schneider and Michelle are the godparents to Ms. Fallon’s daughter. Dr. Schneider and his
wife have contributed to the child’s education and care fund as it was an out of wedlock conception
from an extramarital affair that Ms. Fallon had when her own marriage was dissolving. Dr. Schneider
indicated that Ms. Fallon conceived of the mailer and Dr. Schneider only pointed her to the website for
law enforcement that showed Dr. Biles arrest. Dr. Schneider knowns that Michelle was very upset about
the extra marital affair rumors that Dr. and Rachael Biles started about her and that Michelle and Ms.
Fallon were quite vocal about revealing the truth about Dr. Biles. Dr. Schneider indicated his greatest
mistake was not being more professional and preventing the “creative literature” that Ms. Fallon wrote.
Dr. Schneider notes that Ms. Fallon testified accurately under oath that she wrote and mailed the flyer,
using a database that was easily accessible from Dr. Schneider’s practice in the marketing computer
folder. Dr. Schneider also is adamant (and produced all of the financial records) showing that Ms. Fallon
was never paid or bribed to mail the letter or testify untruthfully. Dr. Schneider indicated that he was
aware of a dozen different stories that Ms. Fallon, Michelle and he shared – everything from Dr. Biles
being involved with same sex relationships to farm animals, all of which generated a good laugh, but Dr.
Schneider indicated that every communication to Ms. Fallon reiterated to tell the truth and that Dr.
Schneider was looking forward to exposing Dr. Biles in open court with testimony from a dozen patients
and medical staff that would reveal his abusive, scorched earth and vindictive personality. Dr. Schneider
noted that he understood his counsel, specifically Mr. Bonner that Dr. Schneider was allowed to discuss
the case with Ms. Fallon as they would be co-defendants in the final litigation. Dr. Schneider notes that
Ms. Fallon did ask him how to prepare for a deposition back in October of 2011. Dr. Schneider did offer
Ms. Fallon a list of questions she should be prepared for and Ms. Fallon did write out Drafts of how she




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would address those questions. Dr. Schneider indicated he told her to “just tell the truth and let me
fight with Biles in front of the judge”. Dr. Schneider noted that his wife Michelle had no interest
however in any open court battle and she asked him daily how could “all of this just go away”.

Dr. Schneider noted Dr. Biles can’t just agree to disagree and not like someone, he wants them crucified
and destroyed if Dr. Biles perceives the other person is not on his “side”. Dr. Schneider notes that Dr.
Biles’ behavior is so erratic that no one ever really knows what his side is. Dr. Schneider noted that Dr.
Biles is the classic school yard bully but most importantly his drinking is a threat to the community, both
in and out of the hospital. Dr. Schneider indicated that Dr. Biles is the worst kind of adversary, refusing
to engage in face to face conflict or conflict resolution, but instead spreads rumors, innuendos and lies
through his network. Dr. Schneider said Dr. Biles’ greatest strength is convincing his patient’s that he is
their only advocate and that all other doctors are inferior to Dr. Biles’ will. Dr. Schneider will testify that
Dr. Biles has said unbelievably derogatory things about all of the other orthopedic surgeons, Dr. Caety
Schmidt, Dr. Divensenso, Dr. Pam Root, all of the emergency room doctors, Dr. Mainini and even Dr.
Ajax, who is the only anesthesiologist that will even work with Dr. Biles. Dr. Schneider reiterated that he
feels just in exposing Dr. Biles, even though many other doctors ‘cower form the schoolyard bully”.




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                              Addendum interview with Dr. John Schneider
                                    March 16 2012


         Dr. Schneider called to inform me that his defense counsel on the medical malpractice
litigation in the Sandra Jones case is investigating the plaintiff expert Dr. Narotzky. They are in
an excellent position to cross examine him and ask about derogatory and malicious comments
then Dr. Biles has made about Dr. Schneider and Dr. Schneider wanted Laurence to discuss this
with Scott Ortiz and Steve Emery. Dr. Schneider also indicated that Dr. Narotzky has a former
partner, Dr. Thompson that left that practice because of observed Medicare fraud for unnecessary
surgery and is apparently approaching the Department of Justice in a qui tam action against Dr.
Narotzky with over 100 cases of fraud. Dr. Schneider believes that many of the cases that Dr.
Biles referred to Dr. Narotzky would fall into those categories and Dr. Schneider questioned
whether Dr. Biles was directly involved in ordering unnecessary MRI and therapy on cases for
Dr. Narotzky on patients in the Big Horn Basin, since Dr. Biles owns the MRI machine and the
therapy. Dr. Schneider questioned whether the firm can pursue this investigation against Dr.
Biles for a qui tam action since Dr. Biles has “clearly violated Stark Law” for many years in the
manner he owns and uses his MRI, ordering 3-4 times as many films on the same number of
patients as a typical orthopedic surgeon. Dr. Schneider indicated that he believed, based upon
how Dr. Biles was trying to get him to split fees and extort Dr. Schneider for referrals, that Dr.
Biles likely now has a similar relationship with Dr. Narotzky and Dr. Goodman.




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